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                     Exhibit A
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Electronically FILED by Superior Court of California, County of Los Angeles on 06/07/20~, S~~~~fJWrrl R. Carter, Executive Officer/Clerk of Court, by R. Cllfton,Deputy Clerk

                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: David Sotelo




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                         1O SERGIO CARDENAS, Sr.

                         11                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

                         12                                         FOR THE COUNTY OF LOS ANGELES

                         13
                                   S.C., by and through his Guardian Ad Litem                                 Case Number:                          Unassigned
                         14        (pending),                                                                   21 ST0/21 246
                         15
                                                                       Plaintiff,                             COMPLAINT FOR MONETARY
                                                                                                              DAMAGES
                         16
                                   v.                                                                         DEMAND FOR JURY TRIAL
                         17
                                  COUNTY OF LOS ANGELES, a                                                    Compliant Filed:                      June 5, 2021
                         18       government entity; SOUTH CENTRAL LOS
                         19       ANGELES REGIONAL CENTER, a private
                                  nonprofit community agency; LOS
                        20        ANGELES UNIFIED SCHOOL DISTRICT,
                                  a public entity; ABC UNIFIED SCHOOL
                         21       DISTRICT, a public entity; COLLEGE
                                  HOSPITAL, a corporation; and DOES I
                        22        through 50, inclusive,
                        23
                                                                       Defendants.
                        24
                                 II
                        25
                                 II
                        26
                                 II
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                                 II
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                                                                                          1
                                                                           COMPLAINT FOR MONET ARY DAMAGES
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        I           Plaintiff S.C. by and through his Guardian Ad Litem (pending), brings this action to
     2      recover monetary damages for injuries as a consequence of Defendants COUNTY OF LOS
     3      ANGELES ("COUNTY"), ABC UNIFIED SCHOOL DISTRICT ("ABCUSD") , LOS
     4      ANGELES UNIFIED SCHOOL DISTRICT ("LAUSD"), COLLEGE HOSPITAL, SOUTH
     5      CENTRAL LOS ANGELES REGIONAL CENTER ("REGIONAL CENTER"), and DOES l
     6      through 50, inclusive (collectively "DEFENDANTS"), violations of disability discrimination
     7      action laws
     8              In support of this Complaint (the "Complaint"), Plaintiff alleges as follows:
     9                                              INTRODUCTION

    10          1. Plaintiff S.C. is an 18-year-old dependent with mental health disabilities, who is under
    11      the Jurisdiction of the Juvenile Dependency Court. His father, Sergio Cardenas Sr., holds a
    12      mental health LPS conservatorship. See Welf. & Inst. Code §5350 et seq.
    13          2. Since early childhood, S.C. has been under the care and supervision of one or more of the
    14      Defendants. As a child with disabilities, each Defendant owed mandatory state and federal
    15      statutory and common-law duties to provide care and suppo11 services for S.C. As a consequence
    16      of each Defendants' dereliction of duties, S.C. has suffered a horrible life and has been subject
    17      to, among other things, abandonment, lack of safety/security, instability in caregivers and home
    18      placements, violence and sexual assault, and unregulated mental health crises. These resulted in
    19      his repeated institutionalization and drove him to attempt self-harm, including setting himself on
   20       fire. His tragic adolescence ended with almost three (3) years of continuous wrongful
   21       confinement and abandonment in a locked psychiatric facility where he was subject to restraints
   22       and sedating medication.
   23           3. Plaintiff S.C., brings this disability discrimination action against Defendants, who have
   24       caused (1) physically injury, emotional distress, and mental impairment, (2) a deprivation of
   25       educational services, mental health services, behavioral supports, placement, and case
   26       management services in the community, and (3) a permanent loss of developmental opportunity.
   27          4. Defendant COUNTY and REGIONAL CENTER failed to provide S.C. access to
   28       intensive mental health and behavioral services that he required to live in the community setting,

                                                        2
                                        COMPLAINT FOR .MONET ARY DAMAGES
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         resulting in frequent and disruptive losses of placement.
     2          5. All DEFENDANTS, collectively and individually, confined and abandoned S.C. at
     3   COLLEGE HOSPITAL for an extended period of time, due to their failure and refusal to offer
     4   him a therapeutic residential placement.
     5          6. DEFENDANTS' actions have denied S.C. his right to fully participate in all aspects of

     6   society, resulted in collateral life-long consequences, caused deprivation to S.C.'s liberty and
     7   caused him harm.
     8
     9                                      JURISDICTION AND VENUE

    10     1.      This Court has jurisdiction over the subject matter of this action pursuant to California
    11   Constitution, article VI, section 10.
    12     2.      Venue lies with this Court. The acts or omissions complained of occurred in the County
    13   of Los Angeles, Cal. Civ. Code§ 393; and at least one Defendant is located in the Los Angeles,
    14   Cal. Civ. Code§ 394(a). The Central District of this Court is the proper location per Local
    15   Rule2.3(a)(l)(B).
    16

    17                                                  PARTIES

    18   Plaintiff
    19    3.       Plaintiff S.C., ("Plaintiff' or "S.C."), is a 17-year-old student who is currently attending
    20   an educationally based residential treatment facility, at Judge Rotenberg Center located in
    21   Canton, Massachusetts, funded by Defendant LAUSD.
   22     4.       Plaintiff is and at all times pertinent to this Complaint has been a natural person, and a
   23    resident of the State of California.
   24     5.       Plaintiff S.C.'s selection and appointment of his Guardian Ad Litem is pending at the
   25    time of filing this Complaint.
   26    Defendants
   27     6.      Defendant COUNTY OF LOS ANGELES ("COUNTY") through its Department of
   28    Children and Family Services ("DCFS") is, and at all times pertinent to this Complaint has been,

                                                      3
                                       COMPLAINT FOR MONET ARY DAMAGES
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     1    a "public entity" as defined by California Government Code §811.2, a "county" and a "public
     2    agency" in the State of California and at all times herein mentioned Defendant COUNTY was
     3    acting as a public agency and county within the provisions of the Government Code §811.2.
     4        7.     Defendant ABC UNIFIED SCHOOL DISTRICT ("ABCVSD") is, and at all times
     5    pertinent to this Complaint has been, a Unified school district as defined Education Code section
     6    83, whose territorial jurisdiction lies within the County of Los Angeles, state of California.
     7        8,     Defendant LOS ANGELES UNIFIED SCHOOL DISTRICT ("LAVSD") is, and at all
     8    times pertinent to this Complaint has been, a Unified school district as defined Education Code
     9    section 83, whose territorial jurisdiction Jies within the County of Los Angeles, state of
    10    California.
    11        9.     Defendant COLLEGE HOSPITAL ("COLLEGE") is, and at all times pertinent to this
    12   Complaint has been, a psychiatric hospital and corporation, who maintains an office and
    13   conducts business within the County of Los Angeles.
    14        I 0.   Defendant SOUTH CENTRAL LOS ANGELES REGIONAL CENTER ("REGIONAL
    15   CENTER'') is, and at all times a private, nonprofit community agency established pursuant to the
    16   Lanterman Developmental Disabilities Services Act (Welf. & Inst. Code §4500 et seq.) to assist
    17   the California Department of Developmental Services ("DDS") in providing developmentally
    18   disabled residents within the County of Los Angeles with access to various support services.
    19        11.    Plaintiff is ignorant of the true names and capacities of Defendants sued herein as DOES
   20    1 through 50, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiff
   21    will amend this Complaint to allege the DOE Defendants' true names and capacities when
   22    ascertained. Plaintiff is informed, believe and allege that each fictitiously named Defendant is
   23    responsible in some manner for the occurrences herein alleged, and that Plaintiff's injuries, as
   24    herein alleged, were proximately caused by Defendants.
   25         12.    Hereafter, references to "DEFENDANTS" shall include those identified in Paragraphs 6
   26    through 11, inclusive.
   27    II
   28    II

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     1                                 FACTS COMMON TO ALL CLAIMS
     2     13.   S.C. is diagnosed with bipolar disorder with a history of psychosis, autism spectrum

     3   disorder, depression, anxiety and mild intellectual disability.

     4     14.   By virtue of his disabilities, S.C. exhibits impaired impulse control and judgment, poor

     5   insight, aggression and assaultive behavior, elopement, vocal disruption and inappropriate

     6   boundaries.

     7     15.   Since the age of three, S.C. has been known or regarded as having developmental delays

     8   and from 2007 to present, as having significant mental impairments.

     9     16.   In 2005, S.C. was identified by his local educational agency as a student with a disability

    10   under the Individuals with Disabilities in Education Act. He remains eligible.

    11     17.   In 2007 S.C. was identified by the REGIONAL CENTER as eligible for services under

   12    the Lanterman Developmental Disabilities Services Act. He remains eligible.

   13      18.   S.C.'s mother was critically ill and his parents were unable to care for him and address

   14    his disabilities. For this reason, in or around November 2008, S.C. was voluntarily placed by his

   15    parents into foster care, and became the responsibility of the COUNTY.

   16      19.   Between 2008 and 2016, COUNTY placed him in at least five different foster homes or

   17    with relative caregivers, but without ensuring appropriate mental health, behavioral health and

   18    other disability related services.
   19     20.    Between 2008 and 2016, REGIONAL CENTER failed to provide S.C. with appropriate

   20    mental and behavioral health, and other disability related services.

   21     21.    As a result, S.C eloped repeatedly, experienced mental health crises, and the placements

   22    did not succeed.

   23     22.    On or around May 7, 2010, COUNTY placed S.C. in a foster home where he eloped and

   24    was found at a park unattended.

   25     23.    On or around January 2011, S.C. was hospitalized at Kedren Community Health Center

   26    for being a danger to himself and others.

   27     24.    In 2012, COUNTY placed him with his grandmother, but S.C. eloped.

   28     25.    Between November 5, 2014 and February l, 2015, S.C. was hospitalize-d at Augustus

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                                      COMPLAINT FOR MONETARY DAMAGES
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     1   Hawkins Mental Health Center.

     2     26.     Between February 17, 2015 and June 24, 2015, S.C. COUNTY placed him at a group

     3   home, but the placement was not successful.

     4     27.     On or around August 18, 2015, COUNTY placed S.C. was placed with his father, and he

     5   attended school at a nonpublic school called TobinworJd. Due to lack of mental and behavioral

     6   health support and other disability related services, his home and school placement did not

     7   succeed.

     8     28.     In 2016, COUNTY placed S.C. in a residential facility, Hathaway Sycamore, but the

     9   placement did not succeed.

    JO     29.     Between May 11, 2016 and June 15, 2016, COUNTY caused S.C. to be hospitalized at

    11   COLLEGE HOSPITAL. There, upon information and belief and alleged herein, he was sexually

    12   assaulted.

    13    30.      Between December 2016 and June 2017, COUNTY caused S.C. to be hospitalized at

    14   Augustus Hawkins due to elopement behavior.

    15    31.      In June 2017, COUNTY placed S.C. at a Foster home called "1 Am Safe" but without

    16   appropriate mental and behavioral health and other disability related services. On July 17, 2017,

    17   he eloped from his foster home and was sexually assaulted.

    18    32.      COUNTY returned him to "I Am Safe" but S.C. eloped again. S.C. was picked up by

    19   police.

   20     33.      Between August 14, 2017 and October 6, 2017, COUNTY caused S.C. to be detained in

   21    Juvenile Hall.

   22     34.      On October 7, 2017, COUNTY placed S.C. at a residential facility, Hathaway Sycamore.

   23     35.      Between October 7, 2017 and November 30, 2017, S.C. eloped from Hathaway

   24    Sycamore, and set himself on fire at Union Station. Parents were called and took him to County

   25    USC Hospital for treatment.

   26     36.      After his hospitalization, Defendant COUNTY returned S.C. to Hathaway Sycamore.

   27    Again, S.C. eloped and was missing for some days. After he was located, COUNTY caused S.C.

   28    to be psychiatrically admitted to COLLEGE HOSPITAL.

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     1     37.   On November 30, 2017, S.C. was admitted to the Developmentally Delayed Mental

     2   illness Unit at COLLEGE HOSPITAL, a psychiatric hospital, with an estimated length of stay to

     3   be five to seven days.
     4     38.   Once admitted, COUNTY failed to make reasonable efforts and failed to locate a

     5   placement for S.C., prolonging his stay.

     6     39.   On December 4,2017, while a patient at COLLEGE HOSPITAL and under COUNTY's

     7   SUPERVISION, S.C. was required to attend a hearing at Edelman Children's courthouse with

     8   walking restraints attached to his ankles.
     9     40.   Upon infotmation and belief, it is alleged that during all the times that S.C. was a patient,
    10   COLLEGE HOSPITAL failed to provide appropriate mental health and behavioral supports to
    11   prevent S.C. from hatming himself, and umeasonably relied on physical restraints and

    12   psychotropic medications.
    13     41.   On February 23, 2018, S.C. suffered a serious injury at COLLEGE HOSPITAL, which
    14   required that he be taken to another hospital for treatment for several days.
    15     42.   On February 26, 2018, COUNTY caused S.C. to return to COLLEGE HOSPITAL.

    16     43.   On August 30, 2018, while still a patient at COLLEGE HOSPITAL and under the
    17   supervision of COUNTY, S.C. was transported to Edelman Children's courthouse with walking
    18   and wrist restraints. After the court hearing, S.C. experienced a mental health crisis. S.C. was
    19   restrained.
    20    44.    On or about September 5, 2018, S.C. was ready for discharge from COLLEGE
    21   HOSPITAL, but COLLEGE HOSPITAL would not release him until an appropriate placement

    22   was located.
    23    45.    COLLEGE HOSPITAL failed to provide formal notice to ABCUSD and/or LAUSD as
    24   required by Government Code Sec. 7579.1 that he was ready for discharge.
   25     46.    On September 15, 2018, COLLEGE HOSPITAL umeasonably restrained and medicated
   26    s.c.
   27     47.    On November 8, 2018, ABCUSD determined that S.C. required intensive mental health
   28    and behavioral health services to benefit from special education in the least restrictive

                                                           7
                                     COMPLAINT FOR MONETARY DAMAGES
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          environment, and that upon his discharge from COLLEGE HOSPITAL, placement may be
     2    considered at an educationally based residential treatment center by the school district of
     3   residence.
     4     48.   ABCUSD was on notice that S.C. was ready for discharge and that he was not receiving
     5   intensive mental health services from COLLEGE HOSPITAL and was being denied a Free and
     6   Appropriate Public Education ("FAPE'') while residing at COLLEGE HOSPITAL.
     7     49.   ABCUSD was on notice that S.C. required an educationally based residential treatment
     8   facility in order to benefit from his special education and related services.
     9     50.   ABCUSD refused to make a formal offer of intensive mental health services or
    10   placement in S.C.'s Individualized Education Program, because that would subject it to financial
    11   responsibility for the placement.
    12     51.   ABCUSD disclaimed any responsibility over offering S.C. a FAPE, contending that
    13   S.C.'s placement after discharge from COLLEGE HOSPITAL was the responsibility of LAU SD,
    14   which was S.C.'s school district ofresidence.
    15     52.   The school district of residence, LAU SD was on notice that it was S.C.'s school district
    16   of residence and was on notice that ABCUSD was refusing to make a placement offer.
    17     53.   LAUSD refused to participate in S.C.'s IEP development process, and refused to take any
    18   responsibility over S.C. 's educational services or placement until after he was released from
    19   COLLEGE HOSPITAL.
    20    54.    Without a formal offer, a S.C. could not secure an educationally based residential
    21   treatment center placement from either ABCUSD or LAUSD, and without a secured placement,
   22    COLLEGE HOSPITAL would not discharge S.C.
   23     55.    REGIONAL CENTER is a payer oflast resort pursuant to Welfare and Institutions Code
   24    §4648(a)(9)(A). REGIONAL CENTER was on notice that S.C. was ready for discharge from
   25    COLLEGE HOSPITAL, that COUNTY, ABCUSD and LAUSD had failed to make reasonable
   26    efforts and failed to locate a placement, and that continued hospitalization was highly detrimental
   27    to S.C.'s well-being. Yet REGIONAL CENTER failed to make reasonable efforts and failed to
   28    offer a placement to S.C.

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      1     56.   On December 18, 2019, S.C., through his educational attorneys, filed with California

      2   Office of Administrative Hearings ("OAH") an administrative due process complaint against

      3   ABCUSD and LAUSD pursuant to 20 U.S.C. §1415(f) of the Individuals with Disabilities
      4   Education Act ("IDEA"), seeking a determination as to each agency's responsibilities over
      5   offering and securing a placement for S.C.
      6     57.   On February 2, 2020, S.C. 'smother died. COLLEGE HOSPITAL and COUNTY

      7   required S.C. to attend his mother's funeral in wrist and feet restraints.

      8     58.   On May 27 and 28, 2020, in the case designated as Student v. ABCUSD et. al., Case No.
      9   2019120715, OAH heard Plaintiffs due process request.
            59.   On July 21, 2020, OAH ordered that Defendant ABCUSD hold an IBP team meeting
     11   within 30 days to consider a full continuum of placement options, including a residential
     12   treatment center, and to offer S.C. an appropriate educational placement.
    13      60.   OAH found that LAU SD, as the district of residence, was responsible for implementing
    14    the IEP immediately upon discharge, which also included funding transportation.
    15      61.   OAH found that Government Code Section 7579.1 imposed a duty on LAUSD to prepare
    16    to receive S.C. and implement the placement the moment the discharge papers were signed.
    17     62.    ABCUSD did not immediately comply with OAH's order.

    18     63.    ABCUSD failed to make reasonable efforts to locate an RTC placement for S.C.
    19     64.    LAUSD failed to make reasonable efforts to prepare to receive S.C. as its student.
    20     65.    ABCUSD and LAUSD's failure extended S.C.'s stay at COLLEGE HOSPITAL.
    21     66.    On October 19, 2020, ABCUSD held an IEP meeting and offered S.C. placement at the
    22    Judge Rotenberg Educational Center, Residential Treatment Facility, and offered intensive
    23    mental health and behavioral services.

    24     67.    On October 22, 2020, ABCUSD sent the October 19, 2020 IBP to LAUSD.
    25     68.    LAUSD delayed and failed to make reasonable efforts to secure a contract with the Judge
    26    Rotenberg Center.
    27     69.    On or after February 9, 2021, S.C. was discharged from COLLEGE and on February 17,
    28    2021, S.C. ruTived at Judge Rotenberg Center, where he currently resides.

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              70.   Due to the combined derelictions of COUNTY, ABCUSD, LAUSD, REGIONAL

     2    CENTER, and COLLEGE HOSPITAL, S.C. remained confined in a locked psychiatric setting

     3    for a period of two and a half years after he was ready for discharg!(.

     4        71.   As a result of the DEFENDANTS' actions and/or omissions, Plaintiff suffered emotional

     5    distress, humiliation, pain and suffering, trauma, violations of rights under the U.S. Constitution,

     6    and violation of rights under the California Constitution.

     7
     8                                               EXHAUSTION

     9        72.   After fully exhausting his claims under the IDEA, 20 U.S.C § 1415, S.C. now brings this

    IO   action alleging that Defendants discriminated against him on the basis of his disability, and seeks

    11   equitable relief and monetary damages.

    12

    13                  COMPLIANCE WITH GOVE~l\1ENT CLAIM REQUIREMENTS
    14        73.   On November 6, 2020, Plaintiff filed an administrative claim pursuant to California

    15   Government Code§ 910 et seq., with the LAUSD, ABCUSD, and Los Angeles County Office of

    16   Education notifying these named Defendants of claims that are now set forth herein.

    17        74.   Defendant LAUSD denied the claim on December 8, 2020.

    18        75.   Defendant ABCUSD denied the claim on December 17, 2020.

    19        76.   On June 5, 2021, Plaintiff filed an administrative claim pursuant to California

    20   Government Code §910 et seq. with the Los Angeles County Department of Child and Family

    21   Services notifying Defendant of claims that are now set forth herein.

    22        77.   Defendant COUNTY as yet to respond to Plaintiffs claim.

    23        78.   Plaintiff has thus complied with the requirements of Government Code Section 910, et.

    24   seq.

    25   II
    26   II
    27   II
    28   //

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                                        COMPLAINT FOR MONETARY DAMAGES
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                                             -
      I   Causes ofAction as to Defendant COUNTY

     2

     3                                      FIRST CAUSE OF ACTION
                                        Negligence and Negligent Supervision
     4
                              by PlaintiffS.C. against COUNTY and DOES I through 10
     5
     6      79.   Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

     7    through 78, inclusive, as though set forth fully herein.

     8      80.   DEFENDANT COUNTY and their employees DOES I through I 0, inclusive,

     9    (colJectively herein "DEFENDANTS"), owed S.C. a duty to care for, protect, and oversee his

    10    placements and foster care and mental health services.

    11      81.   DEFENDANTS had a special relationship with Plaintiff, which imposes independent

    12    affinnative duty of care owed by DEFENDANTS to Plaintiff.

    13      82.   California Government Code §820(a) provides that a public employee is liable for injury

    14    proximately caused by his/her own negligent or wrongful act or omission to the same extent as a

    15    private person. At all times DOES 1 through 10 were acting within the course and scope of their

    16    public employment by COUNTY.

    17      83.   DEFENDANTS knew or should have known S.C. was a person with a disability whose

    18    disabilities required mental health and behavioral health services as described in Paragraphs 13

    19    through 17, inclusive, because Plaintiff had a record of his disabilities and DEFENDANTS

    20    regarded him as an individual with disabilities.

    21     84.    Given his disabilities, Plaintiff S.C. was particularly vulnerable, thus requiring

    22    DEFENDANTS to exercise a higher degree of vigilance than would be necessary for an

    23    individual with no disabilities.

    24     85.    DEFENDANTS breached their aforementioned duties by failing to provide a safe and

    25    secure placement with intensive mental health and behavioral services, resulting in his frequent

    26    elopement and exposure to violence and hann, and by confining him in a psychiatric hospital

    27    and/or juvenile hall to his detriment.

    28     86.    Defendant COUNTY is vicariously and otherwise liable for the torts of their employees

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      1   DOES 1 through 10, inclusive, who were acting within the scope of their employment when they
      2   intentionally or negligently failed to train, supervise, discipline, or terminate employees who
      3   facilitated, encouraged, ordered, consented to, or engage in the actions described herein. See Cal.
      4   Gov. Code§ 815.2(a).
      5     87.   S.C. 's injuries were the proximate and foreseeable result of the absence of safeguards
      6   DEFENDANTS had a duty to provide. Furthermore, S.C.'s injuries were the proximate and
      7   foreseeable as DEFENDANTS were aware of S.C.'s disability related behavior based on his
      8   education and juvenile court records.
      9     88.   S.C. suffered severe emotional and physical distress including humiliation, pain and
     10   suffering.
     II     89.   Plaintiff S.C. seeks general damages, nominal damages, as well as costs incurred in
    12    bringing this action.
    13

    14                                     SECOND CAUSE OF ACTION
                                       Violation of Mandatory Statutory Duties
    15                  by Plaintiff S.C. against Defendant COUNTY and DOES I through 10
    16
    17      90.   Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    18    through 89, inclusive, as though set forth fully herein.
    19     91.    California Government Code §815.6 provides a private right of action where a public
    20    entity is under a mandatory duty imposed by an enactment that is designed to protect against the
    21    risk of a particular kind of injury, such that the public entity is liable for an injury of that kind
    22    proximately caused by failure to discharge the duty unless the public entity establishes that is
    23    exercised reasonable diligence to discharge that duty.
    24     92.    California Government Code §815.2 provides that a public entity is liable for injury
    25    proximately caused by an act or omission of an employee of the public entity within the scope of
    26    his or her employment if the act or omission of an employee or his personal representative.
    27     93.    California Government Code §815.4 provides that a public entity is liable for injury
    28    proximately caused by a tortious act or omission of an independent contractor of the public entity

                                                      12
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         1   to the same extent that the public entity would be subject to liability if it were a private person.
     2        94.   Califomia Welfare and Institutions Code §§300 et seq., 16000, 16001.9, 16500 et seq.,
     3       Califomia Education Code §§56155, 56156.4, and 56159, and Califomia Government Code
     4       §7579.I, set forth the generally described legislative intent:
     5                   a. To provide for the care and supervision of children placed in foster homes;
     6                  b. To focus on the preservation of the family as well as to provide maximum
     7                       protection for physically, sexually, emotional abused and/or neglected minors
     8                       who had been judicially determined to be dependents of the Superior Comt of the
     9                       State of California and a mandate to establish and maintain a case plan
    10                       individually describing and detailing the necessary treatment for known medical,
    11                       social, educational and/or other developmental and behavioral needs of a
    12                       dependent minor such as Plaintiff;
    13                  c. Require that Plaintiff be placed consistent with his individual best interests, and
    14                       that Defendants, and each of them, were to supervise and to monitor Plaintifrs
    15                       physical and emotional condition;
    16                  d. To take necessary action to safeguard Plaintiff's growth and development while in
    17                       foster placement, among other things, in order to provide for Plaintifr s safety and
    18                       protection while in foster care;
    19                  e. To ensure that Plaintiff as a dependent child of the Juvenile Cou1t be entitled to
    20                       participate in age-appropriate schooling, extracurricular, enrichment, and social
    21                       activities; and
    22                  f.   To ensure that the agency that placed a child in a licensed children's institution or
    23                       foster family home, shall, at least 10 days prior to the discharge of a disabled
    24                       youth, notify in writing the local educational agency in which the special
    25                       education program for the child is being provided, and the receiving special
    26                       education local plan area where the child is being transferred, of the impending
    27                       discharge.
    28       95.    At all times mentioned herein, Defendants COUNTY and DOES I through IO, inclusive,

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         1   (collectively herein "DEFENDANTS") owed the following mandatory duties of care to Plaintiff
      2      pursuant to the following statutes, among others:
      3                 a. Pursuant to California Government Code §815.6, said DEFENDANTS owed
      4                     mandatory duties impose by the enactment and regulations described below which

      5                     were designed to protect Plaintiff against the risk of the particular injuries
      6                     complained herein and said Defendants are therefore liable to Plaintiff for such
      7                     injuries proximately suffered;
      8                 b. Pursuant to California Welfare and Institutions Code §§361.2(e) and (k), Plaintiff
      9                     had been ordered by the juvenile court to be under DEFENDANTS exclusive
     10                     care, custody, and control to placed in a suitable placement;

     11                c. Pursuant to California Welfare and Institutions Code §362.05, Plaintiff had been
     12                     ordered by the juvenile court to be under DEFENDANTS' exclusive care,
    13                      custody, and control to receive appropriate extracurricular, enrichment, and social
    14                      activities;
    15                 d. Pursuant to California Welfare and Institutions Code §16001.9, DEFENDANTS
    16                      were mandated to ensure that Plaintiff was provide with a safe, healthy, and
    17                      comfortable home, and placed in the least restrictive setting possible;
    18                 e. Pursuant to California Welfare and Institutions Code§ 16501 (c) and (h),
    19                      DEFENDANTS were mandated to provide Plaintiff case management, family
    20                      reunification services to reunite the family, and child welfare services as specified
    21                      in the various DDS regulations set forth below, and as necessary to protect and
    22                      promote Plaintiffs welfare and prevent Plaintiff's neglect, abuse and/or
    23                      exploitation while under court supervision;
    24                 f.   Pursuant to California Welfare and Institutions Code § 16501.1 (c), (d) and (f),
    25                      DEFENDANTS were mandated to develop case plans for Plaintiff to ensure his
    26                      receipt of protection and safe and proper case management to address his
    27                      particular family reunification services to reunite the family, child welfare
    28                      services as specified in the various DDS Regulations in foster care; was mandated

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       1                       to make pre-placement assessments of prospective foster placements for Plaintiff,
       2                       was mandated to base the selection of Plaintiffs placement 011 selection of a safe
       3                       setting; and was mandated to have contact with Plaintiff, his caretakers and his
       4                       parents in accordance with DDS regulations;
       5                  g. Pursuant to California Welfare and Institutions Code §16501.1(2),
       6                       DEFENDANTS were mandated to provide to Plaintiff a case plan for safe and
       7                       proper care and case management while services were provided to reunite the
       8                       family;
       9                  h. Pursuant to California Welfare and Institutions Code §16502, DEFENDANTS
      10                       were mandated to provide Plaintiff child welfare services in accordance with DDS
      11                       regulations;
      12                  1.   Pursuant to California Education Code §56156.4, DEFENDANTS were mandated
      13                       to provide Plaintiff with appropriate special education services;
      14                 j.    Pursuant to California Education Code §56159, DEFENDANTS were mandated
      15                       to fund Plaintiff's residential costs and costs of non-education services; and
      16                 k. Pursuant to California Government Code §7579.1, DEFENDANTS were
      17                       mandated to inform in writing specific local educational agencies of Plaintiffs
      18                       discharge to ensure that Plaintiff receives an appropriate educational placement
      19                       that commences without delay upon his discharge from a hospital, institution,
      20                       facility or foster family home.
      21        96.   Plaintiff is informed, believes, and alleges that at all times herein DEFENDANTS
      22   inclusive, violated the mandatory statutory duties imposed upon them by California Welfare and
      23   Institutions Code §§300 et seq., 16000, 16001.9, 16500 et seq., California Education Code
      24   §§56155, 56156.4, and 56159, and California Government Code §7579.1, by the following:
      25                 a. Failing to provide Plaintiff intensive mental health and behavioral health services;
      26                 b. Failing to provide Plaintiff with appropriate extracurricular, enrichment, and
      27                       social activities;
      28   II

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         l                c. Failing to place Plaintiff in an appropriate, safe and secure placement which met
      2                        his special needs and was in the least restrictive setting possible;
      3                   d. Failing to develop an appropriate and updated case plan for Plaintiff to ensure his
      4                        protection and safe and proper case management to address his needs;
      5                   e. Excluding him from same age peers for his disability related behavior;
      6                   f. Confining him for an extensive period at COLLEGE HOSPITAL and/or juvenile
      7                        hall;
      8                   g. Interfering with the efforts of other agencies to provide disability related services;
      9                   h. Failing to inform in writing the local educational agency in which Plaintiff's
    10                         special education program was being provided, and the receiving special
     11                        education local plan area where Plaintiff was being transferred, of his impending
    12                         discharge from COLLEGE HOSPITAL; and
    13                    i.   Failing to provide Plaintiff's receiving special education local plan area with a
    14                         copy of his individualized education plan, the identity of the individual
    15                         responsible for representing Plaintiff's interests for educational and related
    16                         services for his impending placement, and other relevant information to meet
    17                         Plaintiff's needs.
    18        97.    DEFENDANTS breached each and every of its various mandatory duties of care owed to
    19       Plaintiff as generally alleged herein so as to proximately cause Plaintiff to suffer the injuries and
    20       damages as alleged herein.
    21        98.    DEFENDANTS' breach of its mandatory duties of care owed to Plaintiff as described
    22       herein was the result of the Defendant's failure to exercise reasonable diligence in the discharge
    23       of its respective duties owed to Plaintiff as set forth herein.
    24        99.    DEFENDANTS breach of the mandatory duties of care owed to Plaintiff as set forth
    25       herein establishes a presumption of the Defendants' negligence pursuant to California Evidence
    26       Code §669.
    27        100. As the direct and proximate result of DEFENDANTS acts and/or omissions, S.C. (1) was
    28       physically injured and his condition was exacerbated, (2) suffered emotional distress, and

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     1   humiliation, (3) was deprived of public education, foster care, and health services, and (4) and
     2   experienced a permanent loss of developmental opportunity. Plaintiff has suffered general
     3   damages in an amount according to proof.
     4     101. As a further proximate result of the breach of mandatory duties alleged against
     5   DEFENDANTS, Plaintiff has incun·ed and will continue to incur medical, psychological and
     6   related expenses in an amount according to proof. As a further proximate result of
     7   DEFENDANTS' acts and/or omissions, Plaintiff has sustained a loss of earning capacity in an
     8   amount according to proof.
     9
    IO                                      THIRD CAUSE OF ACTION
                                                Unruh Civil Rights Act
    11                 by Plaintiff S.C. against Defendants COUNTY and DOES I through 10
    12                                        Cal. Civ. Code §§51, et seq.

    13     102. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    14   through 10 I, inclusive, as though set forth fully herein.
    15     103. As defined for purposes of the Unruh Civil Rights Act, (the "Unruh Act") by Civil Code
    16   §51 (e)(l), and described in Paragraphs 13 through 17, inclusive, Plaintiff S.C. has a disability
    17   within the meaning of the Unruh Act.
    18     104. Defendant COUNTY is a business establishment for the purposes of the Unruh Act.
    19     105. Defendant DOES 1 through l 0, inclusive, are employees of the Defendant COUNTY and
    20   are sued in both their official and individual capacity.
    21     106. Pursuant to Civil Code §51 (f), the ADA violation committed by Defendants COUNTY
    22   and DOES 1 through 10, inclusive, as alleged in Paragraphs 127 through 13 7, inclusive, also
    23   constitutes a violation of the Unruh Act against all Defendants.

    24    107. Alternatively, by engaging in the actions described in Paragraphs 13 through 71 ,
    25   inclusive, Defendants COUNTY and DOES 1 through 10, inclusive, engaged in discriminatory
    26   conduct that denied, aided, or incited a denial of the rights of Plaintiff S.C. to enjoy the full and
    27   equal access to his accommodations, goods, facilities, and services.
    28    108. As described in Paragraphs 13 through 71, inclusive, Defendants COUNTY and DOES l

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          through 10, inclusive, actions were intentional, willful, and affirmatively discriminato1y towards
      2   Plaintiffs rights under the Unruh Act because Defendants' refusal to place Plaintiff was
      3   deliberate, with the full knowledge that their failure to act resulted in his prolonged and
      4   continued confinement in a psychiatric hospital and/or juvenile hall.
      5     I 09. As the direct and proximate result of Defendants COUNTY and DOES 1 through 10,
      6   inclusive, failure to provide those aforementioned related aids, services and placement and
      7   discriminatory actions, S.C. (1) was physically injured and his mental impairment was
      8   exacerbated, (2) suffered emotional distress, and humiliation, (3) was deprived of educational
      9   services, mental health services, behavioral supports, placement, and case management services
     10   in the community, and (4) and experienced a permanent loss of developmental opportunity.
     11     110. Under Civil Code §52(a), Plaintiff S.C. is entitled to recover statutory damages, general
     12   damages as well as treble damages according to proof.
     13
     14                                    FOURTH CAUSE OF ACTION
                                 Violation of California Government Code §11135
     15                 by Plaintiff S.C. against Defendant COUNTY and DOES 1 through 10
     16
    17      111. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    18    through 110, inclusive, as though set forth fully herein.
    19      112. California Government Code§ 11 J35 states in relevant part that "[N]o person in the State
    20    of California shaJJ on the basis of. . . mental disability, physical disability, medical condition ..
    21    . be unlawfully denied full and equal access to the benefits of, or be unlawfully subjected to
    22    discrimination under, any program or activity that is conducted, operated, or administered by the
    23    state or by any state agency, is funded directly by the state, or receives financial assistance from
    24    the state."
    25     113. At all times relevant to this action, Plaintiff was and is a qualified individual within the
    26    meaning of the California Government Code § 1113 5.
    27     114. At all times relevant, Defendants COUNTY and DOES 1 through 10, inclusive,
    28    (collectively herein "DEFENDANTS") received financial assistance from the State of California

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      1   within the meaning of Government Code §11135 et seq.
      2     115. California Government Code § 1113 5(b) incorporated the protections and prohibitions
      3   contained in the Americans with Disabilities Act ("ADA") and it's implementations regulations.
      4     116. DEFENDANTS have violated California Government Code § 11135 that the conduct
      5   alleged herein constitutes a violation of the ADA, Section 504 of the Rehabilitation Act, and the
      6   Unruh Civil Rights Act.
      7     117. DEFENDANTS have failed to provide Plaintiff with full and equal access to their
      8   facilities, programs, services and activities as required by California Government Code § 11135
      9   etseq.
     10     118. As a proximate result of DEFENDANTS' violation of California Government Code
     11   §11135, Plaintiff has been injured as set forth herein.
     12     119. Plaintiff seeks equitable relief, and general damages.
     13
     14                                      FIFTH CAUSE OF ACTION
                                                Violation of Civil Rights
     15                 by Plaintiff S.C. against Defendants COUNTY and DOES 1 through 10
     16                                             42 u.s.c. §1983

    17      120. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    18    through 119, inclusive, as though set forth fully herein.
    19      121. Plaintiff is informed, believes, and alleges that in doing all of the things alleged,
    20    Defendant COUNTY through DCFS acted under color of law of statutes, regulations,
    21    ordinances, customs, usages of the COUNTY and the State of California and in the performance
    22    of their official duties.
    23     122. At all times, Defendant COUNTY had a duty to adequately train, direct, supervise, and
    24    control the actions of Defendant COUNTY DCFS' employees, such as DOES 1 through I 0,
    25    inclusive, to enforce those rules and regulations set forth necessary for the protection and
    26    promotion of Plaintiff best interests and the implementation of Plaintiff's case plan, and to
    27    enforce compliance with the COUNTY Juvenile Court's orders in effect.
    28     123. At all times, Defendant DOES 1 through 10, inclusive, were acting within the scope of

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         I    their employment and pursuant to the official policies, customs and practices of Defendant
     2        COUNTY through DCFS. These unlawful policies and practices were enforced by Defendant
     3        COUNTY, and were the moving force, proximate cause, or affinnative link behind the conduct
     4        causing injury to Plaintiff.
     5            124. At all times, Defendant COUNTY, who supervised the individuals who unlawfully
     6        violated Plaintiff's rights, developed, encouraged and tolerated the unlawful policies and
     7        practices described in the foregoing allegations. Defendant COUNTY acted knowingly and with
     8        deliberate indifference to the Constitutional rights of citizens, of Plaintiff in particular, and
     9        maintained and pennitted an official policy, custom and practice ofpennitting the occurrence of
    10        the types of wrongs set forth. These policies, customs, and practices, include, but are not limited
    11        to, knowingly pennitting its agents and employees to act with deliberate indifference in the
    12        implementation of and in the failure to implement the various alleged laws, enactments, statutes,
    13       and regulations for its minor dependents such as Plaintiff.
    14            125. Defendants COUNTY and DOES I through IO, inclusive, conduct as alleged threatened
    I5       to deprive and did deprive Plaintiff of his rights, privileges, and immunities as secured to him by
    16       the Constitution of the United States, including Plaintiff's right to safety and freedom from harm,
    17       and the right not to be deprived of state or federally created liberty or property rights as
    18       guaranteed by the First, Fourth, Eighth, and Fourteenth Amendment to the United States
    19       Constitution.
    20            126. In addition to economic and non~economic damages, Defendants COUNTY and DOES 1
    21       through 10, inclusive, violations of Plaintiff's civil rights as alleged entitles Plaintiff to
    22       compensatory damages, attorney fees and other remedies, all of which are provided for in 42
    23       U.S.C. §1983, et seq.
    24       II
    25       II
    26       II
    27       II
    28       II

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         I                                     SIXTH CAUSE OF ACTION
                                              Americans with Disabilities Act
     2                                  by Plaintiff S.C. against Defendant COUNTY
     3                                          42 U.S. C. §§ 12101, et seq.
                                                  42 U.S.C. §§12181, et seq.
     4

     5         127. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs I
     6       through 126, inclusive, as though set forth fully herein.
     7         128. Defendant COUNTY is a public entity within the meaning of Title II of the Americans
     8       with Disabilities Act ("ADA"). See 42 U.S.C. §12131(1).
     9         129. Under Title II of the ADA, "[N]no qualified individual with a disability shall, by reason
    10       of such disability, be excluded from participation in or be denied the benefits of services,
    11       programs, or activities of a public entity, or be subjected to discrimination by any such entity."
    12       See 42 U.S.C. §12132.

    13         130. At all times pertinent to this Complaint, S.C.' s disabilities have substantially limited one
    14       or more of his major life activities, including (I) learning, (2) concentrating, (3) thinking, (4)
    15       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments
    16       constitute a "disability" as defined in 42 U. S. C. § 12102(1 ).
    17         131. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff
    18       S.C. is a qualified individual within the meaning of the ADA and regulations issued thereunder.
    19         132. Defendant COUNTY knew or should have known S.C. was a person with a disability
    20       whose disabilities required mental health and behavioral health services as described in
    21       Paragraphs 13 through 17, inclusive, because Plaintiff had a record of his disabilities and
    22       DEFENDANTS regarded him as an individual with disabilities.
    23        133. Defendant COUNTY knew or should have known that Plaintiff required related aids,
    24       services and placement in order to sustain any placement in the most integrated setting, and as
    25       such, obtain benefit from its programs, because it had a record of the need for these supports
    26       from assessments found in Plaintiff's education and juvenile court records.
    27        134. Defendant COUNTY discriminated against S.C., when it (l) failed to provide intensive
    28       mental health and behavioral services required to sustain a placement, (2) regularly excluded him

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      1   from placements because of disability related behavior, (3) denied him access to the most
     2    integrated setting appropriate to his needs, and (4) confined him for an extensive period at
     3    COLLEGE HOSPITAL and/or juvenile hall, thereby segregating him from society and denying
     4    him the opportunity to benefit from its programs.
     5      135. Defendant COUNTY committed the acts and omissions alleged herein with deliberate
     6    indifference to Plaintiffs rights because Defendant COUNTY was on notice that S.C.'s required
     7    intensive mental health and behaviors services, and an appropriate placement, and that the lack
     8    of the aforementioned were resulting in significant disruption to his education and foster care
     9    and/or causing him to be held at a psychiatric hospital and/or juvenile hall placement.
    10      136. As the direct and proximate result of Defendant COUNTY's failure to provide those
    11    aforementioned related aids, services and placement and discriminatory actions, S.C. (1) was
    12    physically injured and his mental impairment was exacerbated, (2) suffered emotional distress,
    13    and humiliation, (3) was deprived of educational services, mental health services, behavioral
    14    supports, placement, and case management services in the community, and (4) and experienced a
    1S    permanent loss of developmental opportunity.
    16      137. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs
    17    incurred in bringing this action.
    18
    19                                    SEVENTH CAUSE OF ACTION
                                       Section 504 of The Rehabilitation Act
    20                              by Plaintiff S.C. against Defendant COUNTY
    21                                        29 U. S. C. §§ 794, et seq.

    22     138. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 13
    23    through 17, inclusive, as though set forth fully herein.
    24     139. Under the Rehabilitation Act, a qualified individual with a disability shall not, solely by
    25    reason of their disability, be excluded from participation in or be denied the benefits of, or be
    26    subjected to discrimination under any program or activity receiving federal financial assistance.
    27    See 29 U. S. C. § 794.
    28     140. Under the Rehabilitation Act, the phrase "program or activity" includes local educational

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         l   agencies and other school systems. 29 U.S. C. § 794(b)(2)(B).

     2         141. Defendant COUNTY was a recipient of federal funding within the meaning of Section

     3       504 of the Rehabilitation Act ("The Rehabilitation Act"). See 29 U.S.C. § 794(b).

     4         142. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one

     5       or more of his major life activities, including (1) learning, (2) concentrating, (3) thinking, (4)

     6       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impaim1ents

     7       constitute a "disability" as defined in 34 C.F.R. § I 04.3(i).

     8         143. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff

     9       S.C. is a qualified individual within the meaning of The Rehabilitation Act and regulations

    10       issued thereunder.

    11         144. Defendant COUNTY knew or should have known that Plaintiff required related aids,

    12       services and placement in order to sustain any placement in the most integrated setting, and as

    13       such, obtain benefit from its programs, because it had a record of the need for these. supp011s

    14       from assessments found in Plaintiff's education and juvenile court records.

    15         145. Defendant COUNTY discriminated against S.C., when they (1) failed to provide
    16       intensive mental health and behavioral services required to sustain a placement, (2) regularly

    17       excluded him from placements because of disability related behavior, (3) denied him access to

    18       the most integrated setting appropriate to his needs, and (4) confined him for an extensive period

    19       at COLLEGE HOSPITAL and/or Juvenile Hall, thereby segregating him from society and

    20       denying him the opportunity to benefit from its programs.

    21         146. Defendant COUNTY violated 34 C.F.R. §l04.33(a) & (b) and effectively excluded S.C.

    22       from participation in, denied him the benefit of, and subjected him to discrimination under its

    23       programs and activities. The foregoing exclusion, denial and discrimination were done solely by

    24       reason of S.C.'s disability and therefore violated the Rehabilitation Act generally and 29 U.S.C.

    25       §794(a) specifically.

    26        147. Defendant COUNTY committed the acts and omissions alleged herein with deliberate

    27       indifference to Plaintiff's rights because Defendant COUNTY were on notice that S.C.'s

    28       required intensive mental health and behavioral services, and an appropriate placement, and that

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      1   the lack of the aforementioned were resulting in significant disruption to his education and foster

      2   care and/or causing him to be held at a psychiatric hospital and/or juvenile hall placement.

      3     148. Defendant COUNTY's acts and omissions alleged herein violated 34 C.F.R.
      4   §§104.4(b)(l)(i) and 104.33(a) and (d) and excluded S.C. from participation in, denied him the
      5   benefit of, and subjected him to discrimination under their programs and activities. The
      6   foregoing exclusion, denial and discrimination were done solely by reason of S.C.'s disability

      7   and therefore violated the Rehabilitation Act generally and 29 U.S.C, 1794(a) specifically.
      8     149. As the direct and proximate result of Defendant COUNTY's failure to provide those
    ·9    aforementioned related aids, services and placement and discriminatory actions, S.C. ( 1) was
     10   physically injured and his mental impairment was exacerbated, (2) suffered emotional distress,
     11   and humiliation, (3) was deprived of educational services, mental health services, behavioral
     12   supports, placement, and case management services in the community, and (4) and experienced a

     13   permanent loss of developmental opportunity.
     14     150. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs
    15    incun·ed in bringing this action
    16

    17    Causes o(Action as to Defendant ABCUSD
    18

    19                                   EIGHTH CAUSE OF ACTION
                                       Negligence and Negligent Supervision
    20                 by PlaintiffS.C. against Defendants ABCUSD and DOES 11 through 20
    21
    22     151. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    23    through 150, inclusive, as though set forth fully herein.
    24     152. Defendants ABCUSD and their employees DOES 11 through 20, inclusive, (co11ectively
    25    herein "DEFENDANTS"), owed S.C. a duty to care for, protect, and oversee his placements and

    26    foster care and mental health services.
    27     153. DEFENDANTS had a special relationship with Plaintiff, which imposes independent
    28    affinnative duty of care owed by DEFENDANTS to Plaintiff.

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     1     154. California Government Code §820(a) provides that a public employee is liable for injury

     2   proximately caused by his/her own negligent or wrongful act or omission to the same extent as a

     3   private person. At all times DOES 11 through 20 were acting within the course and scope of their

     4   public employment by Defendant ABCUSD.

     5     155. DEFENDANTS knew or should have known S.C. was a person with a disability whose

     6   disabilities required mental health and behavioral health services as described in Paragraphs 13

     7   through 17, inclusive, because Plaintiff had a record of his disabilities and DEFENDANTS

     8   regarded him as an individual with disabilities.

     9     156. Given his disabilities, Plaintiff S.C. was pat1icularly vulnerable, thus requiring

    10   DEFENDANTS to exercise a higher degree of vigilance than would be necessary for an

    11   individual with no disabilities.

    12     157. DEFENDANTS breached their aforementioned duties by failing to provide a safe and

    13   secure placement with intensive mental health and behavioral services, resulting in his frequent

    14   elopement and exposure to violence and harm, and by confining him in a psychiatric hospital

    15   and/or juvenile hall to his detriment.

    16     158. Defendant ABCUSD is vicariously and otherwise liable for the torts of their employees

    17   DOES 11 through 20, inclusive, who were acting within the scope of their employment when

    18   they intentionally or negligently failed to train, supervise, discipline, or terminate employees

    19   who facilitated, encouraged, ordered, consented to, or engage in the actions described herein. See

    20   Cal. Gov. Code§ 815.2(a).

    21     159. S.C.'s injuries were the proximate and foreseeable result of the absence of safeguards

    22   DEFENDANTS had a duty to provide. Furthermore, S.C.'s injuries were the proximate and

    23   foreseeable as DEFENDANTS were aware of S.C.'s disability related behavior based on his

    24   education and juvenile com1 records.

    25    160. S.C. suffered severe emotional and physical distress including humiliation, pain and

    26   suffering.

    27   . 161. Plaintiff S.C. seeks general damages, nominal damages, as well as costs incurred in

    28   bringing this action.

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                                           NINTH CAUSE OF ACTION
                                      Violation of Mandatory Statutory Duties
     2                by Plaintiff S.C. against Defendants ABCUSD and DOES 1 I through 20
     3
     4     162. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs I

     5   through 161, inclusive, as though set forth fully herein.

     6     163. California Government Code §815.6 provides a private right of action where a public

     7   entity is under a mandatory duty imposed by an enactment that is designed to protect against the

     8   risk of a particular kind of injury, such that the public entity is liable for an injury of that kind

     9   proximately caused by failure to discharge the duty unless the public entity establishes that is

    10   exercised reasonable diligence to discharge that duty.

    11     164. California Government Code §815.2 provides that a public entity is liable for injury

    12   proximately caused by an act or omission of an employee of the public entity within the scope of

    13   his or her employment if the act or omission of an employee or his personal representative.

    14     165. California Government Code §815.4 provides that a public entity is liable for injury

    15   proximately caused by a tortious act or omission of an independent contractor of the public entity

    16   to the same extent that the public entity would be subject to liability if it were a private person.

    17    166. California Education Code §§56155, 56156.4, 56167, 56342, and 56343(d), McKinney-

    18   Vento Homeless Assistance Act, 42 U.S.C. §11431, et seq., and Title 34 of the California Code

    19   of Regulations, §300.115(a), set forth the generally described legislative intent:

    20              a. To ensure that Plaintiff as a dependent child of the Juvenile Court be entitled to

    21                  participate in age-appropriate schooling, extracurricular, enrichment, and social

    22                  activities;

    23              b. To ensure that Plaintiff as a homeless child and youth be entitled to the same

    24                  educational rights and protections as other children and youth; and

    25              c. To ensure that Plaintiff receives appropriate special education and related

    26                  services, which includes placement in order to meet Plaintiffs needs.

    27    167. At all times mentioned herein, Defendants ABCUSD and DOES, 11 through 20,

    28   inclusive, (collectively herein "DEFENDANTS") owed the following mandatory duties of care

                                                     26
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      1   to Plaintiff pursuant to the following statutes, among others:
      2                a. Pursuant to California Government Code §815 .6, DEFENDANTS owed
      3                    mandatory duties impose by the enactment and regulations described below which
      4                    were designed to protect Plaintiff against the risk of the particular injuries
      5                    complained herein and said DEFENDANTS are therefore liable to Plaintiff for
      6                    such injuries proximately suffered;
      7                b. Pursuant to California Education Code §§56155, 56156.4, 56167, 56342, and
      8                    56343(d), DEFENDANTS were mandated to provide Plaintiff with appropriate
      9                    special education services, which includes appropriate placement to meet the
     10                    child's needs,
     11                c. Pursuant to McKinney-Vento Homeless Assistance Act, 42 U.S.C. §11431, et
    12                     seq., DEFENDANTS were mandated to provide Plaintiff with equal access to the

    13                     same free, appropriate public education as provided to other children and youth;
    14                     and
    15                 d. Pursuant to Title 34 of the California Code of Regulations, §300.115(a),
    16                     DEFENDANTS inclusive, were mandated to ensure that a continuum of
    17                     alternative placements was available to meet Plaintiff's needs, and consider other
    18                     placements.
    19     168. Plaintiff is informed, believes, and alleges that at all times herein DEFENDANTS
    20    violated the mandatory statutory duties imposed upon them by California Education Code
    21    §§56155, 56156.4, 56167, 56342, and 56343(d), McKinney-Vento Homeless Assistance Act, 42
    22    U.S.C. §11431, et seq., and Title 34 of the California Code of Regulations, §300.l lS(a), by the
    23    following:
    24                 a. Failing to provide Plaintiff his related aids, services, and placement to regulate his
    25                    mental health and behavior;
    26                 b. Failing to place Plaintiff in an appropriate placement which met his special needs
    27                    and was in the least restrictive setting possible;
    28                 c. Excluding him from same age peers for his disability related behavior; and

                                                        27
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                      d. Holding him for an extensive period at COLLEGE HOSPITAL and/or Juvenile
      2                   Hall.
      3     169. DEFENDANTS breached each and every of their various mandatory duties of care owed
     4    to Plaintiff as generally alleged herein so as to proximately cause Plaintiff to suffer the injuries
      5   and damages as a1leged herein.
     6      170. DEFENDANTS breaches of their mandatory duties of care owed to Plaintiff as described
      7   herein was the result of the DEFENDANTS' failure to exercise reasonable diligence in the
      8   discharge of its respective duties owed to Plaintiff as set forth herein.
     9      171. DEFENDANTS breaches of their mandatory duties of care owed to Plaintiff as set forth
     10   herein establishes a presumption of the DEFENDANTS' negligence pursuant to California
    11    Evidence Code §669.
    12      172. As the direct and proximate result of DEFENDANTS acts and/or omissions, S.C. (1) was
    13 . physically injured and his condition was exacerbated, (2) suffered emotional distress, and
    14    humiliation, (3) was deprived of educational services, mental health services, behavioral
    15    supports, and placement, and (4) and experienced a permanent loss of developmental
    16    opportunity. Plaintiff has suffered general damages in an amount according to proof.
    17      173. As a further proximate result of the breach of mandatory duties alleged against
    18    DEFENDANTS, Plaintiff has incurred and will continue to incur medical, psychological and
    19    related expenses in an amount according to proof. As a further proximate result of
    20    DEFENDANTS' acts and/or omissions, Plaintiff has sustained a loss of earning capacity in an
    21    amount according to proof.
    22
    23                                     TENTH CAUSE OF ACTION
                                             Unruh Civil Rights Act
    24                by PlaintiffS.C. against Defendants ABCUSD and DOES, 11 through 20
    25                                      Cal. Civ. Code §§51, et seq.

    26     174. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    27    through 175, inclusive, as though set forth fully herein.
    28     175. As defined for purposes of the Unruh Civil Rights Act, (the "Unruh Act") by Civil Code

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           §5l(e)(l), and described in Paragraphs 13 through 17, inclusive, Plaintiff S.C. has a disability

      2    within the meaning of the Unruh Act.

      3        · t 76. Defendant ABCUSD is a business establishment for the purposes of the Unruh Act.

      4        177. Defendant DOES 11 through 20, inclusive, are employees of the Defendant ABCUSD

      5    and are sued in both their official and individual capacity.

      6        178. Pursuant to Civil Code §51 (f), the ADA violation committed by Defendant ABCUSD

      7    and DOES 11 through 20, inclusive, as alleged in Paragraphs 199 through 209, inclusive, also

      8    constitutes a violation of the Unruh Act against all Defendants.

      9        179. Alternatively, by engaging in the actions described in Paragraphs 13 through 71,

     10    inclusive, Defendants ABCUSD and DOES, 11 through 20, inclusive, engaged in discriminatory

     11    conduct that denied, aided, or incited a denial of the rights of Plaintiff S.C. to enjoy the full and

     12    equal access to his accommodations, goods, facilities, and services.

    13         180. As described in Paragraphs 13 through 71, inclusive, Defendants ABCUSD and DOES,

    14     11 through 20, inclusive, actions were intentional, willful, and affirmatively discriminatory

    15    towards Plaintiffs rights under the Unruh Act because Defendants' refusal to place Plaintiff was

    16    deliberate, with the full knowledge that their failure to act resulted in his prolonged and

    17    continued confinement in a psychiatric hospital and/or juvenile hall.

    18         181. As the direct and proximate result of Defendants ABCUSD and DOES, 11 through 20,

    19    inclusive, failure to provide those aforementioned related aids, services and placement and

    20    discriminatory actions, S.C. (1) was physically injured and his mental impairment was

    21    exacerbated, (2) suffered emotional distress, and humiliation, (3) was deprived of educational

    22    services, mental health services, behavioral supports, placement, and case management services

    23    in the community, and (4) and experienced a permanent loss of developmental opportunity.

    24         182. Under Civil Code §52(a), PlaintiffS.C. is entitled to recover statutory damages, general

    25    damages as we1l as treble damages according to proof.

    26    II
    27    II
    28    //

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                                           ELEVENTH CAUSE OF ACTION
                                    Violation of California Government Code §11135
     2                   by Plaintiff S.C. against Defendants ABCUSD and DOES 11 through 20
     3
     4        183. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

     5    through 182, inclusive, as though set forth fully herein.

     6        184. California Government Code § 11135 states in relevant part that "[N]o person in the State

     7    of California shall on the basis of ... mental disability, physical disability, medical condition ..

     8    . be unlawfully denied full and equal access to the benefits of, or be unlawfully subjected to

     9    discrimination under, any program or activity that is conducted, operated, or administered by the

    10    state or by any state agency, is funded directly by the state, or receives financial assistance from

    11   the state."

    12        185. At all times relevant to this action, Plaintiff was and is a qualified individual within the

    13   meaning of the California Government Code §11135.

    14        186. At all times relevant, Defendants ABCUSD and DOES, 11 through 20, inclusive,

    15   (collectively herein "DEFENDANTS") received financial assistance from the State of California

    16   within the meaning of Government Code § 11135 et seq.

    17        187. California Government Code§ I l 135(b) incorporated the protections and prohibitions

    18   contained in the Americans with Disabilities Act ("ADA") and it's implementations regulations.

    19        188. DEFENDANTS have violated California Government Code § 11135 that the conduct

    20   alleged herein constitutes a violation of the ADA, Section 504 of the Rehabilitation Act, and the

    21   Unruh Civil Rights Act.

    22        189. DEFENDANTS have failed to provide Plaintiff with full and equal access to their

    23   facilities, programs, services and activities as required by California Government Code §11135

    24   et seq.

    25        190. As a proximate result of DEFENDANTS' violation of California Government Code

    26   §11135, Plaintiff has been injured as set forth herein.

    27        191. Plaintiff seeks equitable relief, and general damages.
    28   II

                                                       30
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     1                                    TWELFTH CAUSE OF ACTION
                                               Violation of Civil Rights
     2                 by Plaintiff S.C. against Defendants ABCUSD and DOES 11 through 20
     3                                              42 u.s.c. §1983

     4     192. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
     5   through 191, inclusive, as though set forth fully herein.
     6     193. Plaintiff is infonned, believes, and alleges that in doing all of the things alleged,
     7   Defendant ABCUSD acted under color of law of statutes, regulations, ordinances, customs,
     8   usages of the ABCUSD and the State of California and in the performance of their official
     9   duties.
    10     194. At all times, Defendant ABCUSD had a duty to adequately train, direct, supervise, and
    11   control the actions of Defendant ABCUSD' employees, such as DOES 11 through 20, inclusive,
    12   to enforce those rules and regulations set forth necessary for the protection and promotion of
    13   Plaintiff best interests and the implementation of Plaintiff's case plan, and to enforce compliance
    14   with the Juvenile Court's orders in effect.
    15     195. At a11 times, Defendant DOES 1I through 20, inclusive, were acting within the scope of
    16   their employment and pursuant to the official policies, customs and practices of Defendant
    17   ABCUSD. These unlawful policies and practices were enforced by Defendant ABCUSD, and
    18   were the moving force, proximate cause, or affinnative link behind the conduct causing injury to
    19   Plaintiff.
    20     196. At all times, Defendant ABCUSD, who supervised the individuals who unlawfully
    21   violated Plaintiff's rights, developed, encouraged and tolerated the unlawful policies and
    22   practices described in the foregoing allegations. Defendant ABCUSD acted knowingly and with
    23   deliberate indifference to the Constitutional rights of citizens, of Plaintiff in particular, and
    24   maintained and pennitted an official policy, custom and practice of pennitting the occurrence of
    25   the types of wrongs set forth. These policies, customs, and practices, include, but are not limited
    26   to, knowingly pennitting its agents and employees to act with deliberate indifference in the
    27   implementation of and in the failure to implement the various alleged laws, enactments, statutes,
    28   and regulations for its minor dependents such as Plaintiff.

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         1     197. Defendants ABCUSD and DOES 11 through 20, inclusive, conduct as alleged threatened
     2        to deprive and did deprive Plaintiff of his rights, privileges, and immunities as secured to him by
     3       the Constitution of the United States, including Plaintiff's right to safety and freedom from harm,
     4       and the right not to be deprived of state or federally created liberty or property rights as
     5       guaranteed by the First, Fourth, Eighth, and Fourteenth Amendment to the United States
     6       Constitution.
     7         198. In addition to economic and non~economic damages, Defendants ABCUSD and DOES,
     8        11 through 20, inclusive, violations of Plaintiff's civil rights as alleged entitles Plaintiff to
     9       compensatory damages, attorney fees and other remedies, all of which are provided for in 42
    10       U.S.C. § 1983, et seq.
    II
    12                                     THIRTEENTH CAUSE OF ACTION
                                               Americans with Disabilities Act
    13
                                         by PlaintiffS.C. against Defendant ABCUSD
    14                                           42 U.S. C. §§ 12101, et seq.

    IS         199. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    16       through 198, inclusive, as though set forth fully herein.
    17         200. Defendant ABCUSD is a public entity within the meaning of Title II of the Americans
    18       with Disabilities Act ("ADA"). See 42 U.S.C. §12131(1).
    19        201. Under Title II of the ADA, "[N]no qualified individual with a disability shall, by reason
    20       of such disability, be excluded from participation in or be denied the benefits of services,
    21       programs, or activities of a public entity, or be subjected to discrimination by any such entity."
    22       See 42 U.S.C. §12132.

    23        202. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one
    24       or more of his major life activities, including (1) learning, (2) concentrating, (3) thinking, (4)
    25       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments
    26       constitute a "disability" as defined in 42 U.S. C. § 12102(1).
    27        203. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff
    28       S.C. is a qualified individual within the meaning of the ADA and regulations issued thereunder.

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      1        204. Defendant ABCUSD knew or should have known S.C. was a person with a disability
      2    whose disabilities required mental health and behavioral health services as described in

      3    Paragraphs 13 through 17, inclusive, because Plaintiff had a record of his disabilities and

      4    Defendant regarded him as an individual with disabilities.
      5        205. Defendant ABCUSD knew or should have known that Plaintiff required related aids,

      6    services and placement in order to sustain any placement in the most integrated setting, and as
      7    such, obtain benefit from its programs, because it had a record of the need for these supports
      8   from assessments found in Plaintiff's education and juvenile court records.
      9        206. Defendant ABCUSD discriminated against S.C., when it (1) failed to provide intensive
     10   mental health and behavioral services required to sustain a placement, (2) regularly excluded him

     11   from placements because of disability related behavior, (3) denied him access to the most
     12   integrated setting appropriate to his needs, and (4) confined him for an extensive period at
    13    COLLEGE HOSPITAL and/or juvenile hall, thereby segregating him from society and denying
    14    him the opportunity to benefit from its programs.
    15         207. Defendant ABCUSD committed the acts and omissions alleged herein with deliberate
    16    indifference to Plaintiff's rights because Defendant ABCUSD was on notice that S.C.'s required
    17    intensive mental health and behaviors services, and an appropriate placement, and that the lack
    18    of the aforementioned were resulting in significant disruption to his education and foster care
    19    and/or causing him to be held at a psychiatric hospital and/or juvenile hall placement.
    20         208. As the direct and proximate result of Defendant ABCUSD's failure to provide those

    21    aforementioned related aids, services and placement and discriminatory actions, S.C. (1) was

    22    physically injured and his mental impainnent was exacerbated, (2) suffered emotional distress,
    23    and humiliation, (3) was deprived of educational services, mental health services, behavioral
    24    supports, placement, and case management services in the community, and (4) and experienced a
    25    pennanent loss of developmental opportunity.
    26         209. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs

    27    incurred in bringing this action.
    28    //

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                                         COMPLAINT FOR MONETARY DAMAGES
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         I                                 FOURTEENTH CAUSE OF ACTION
                                            Section 504 of The Rehabilitation Act
     2
                                         by Plaintiff S.C. against Defendant ABCUSD
     3                                             29 U. S. C. §§ 794, et seq.

     4         210. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
     5       through 209, inclusive, as though set forth fully herein.
     6         211. Under the Rehabilitation Act, a qualified individual with a disability shall not, solely by
     7       reason of their disability, be excluded from participation in or be denied the benefits of, or be
     8       subjected to discrimination under any program or activity receiving federal financial assistance.
     9       See 29 U.S. C. § 794.

    10         212. Under the Rehabilitation Act, the phrase "program or activity" includes local educational
    11       agencies and other school systems. 29 U.S. C. § 794(b)(2)(B).
    12         213. Defendant ABCUSD was a recipient of federal funding within the meaning of Section
    13       504 of the Rehabilitation Act ("The Rehabilitation Act"). See 29 U.S.C. § 794(b).
    14         214. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one
    15       or more of his major life activities, including (1) learning, (2) concentrating, (3) thinking, (4)
    16       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments
    17       constitute a "disability" as defined in 34 C.F .R. § J04.3(j).
    18        215. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff
    19       S.C. is a qualified individual within the meaning of The Rehabilitation Act and regulations
    20       issued thereunder.
    21        216. Defendant ABCUSD knew or should have known that Plaintiff required related aids,
    22       services and placement in order to sustain any placement in the most integrated setting, and as
    23       such, obtain benefit from its programs, because it had a record of the need for these suppo11s
    24       from assessments found in Plaintiffs education and juvenile court records.
    25        217. Defendant ABCUSD discriminated against S.C., when they (1) failed to provide intensive
    26       mental health and behavioral services required to sustain a placement, (2) regularly excluded him
    27       from placements because of disability related behavior, (3) denied him access to the most
    28       integrated setting appropriate to his needs, and (4) confined him for an extensive period at

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     1    COLLEGE HOS PITAL and/or Juvenile Hall, thereby segregating him from society and denying
     2    him the opportunity to benefit from its programs.
     3        218. Defendant ABCUSD violated 34 C.F.R. §104.33(a) & (b) and effectively excluded S.C.
     4    from pa1ticipation in, denied him the benefit of, and subjected him to discrimination under its
     5 programs and activities. The foregoing exclusion, denial and discrimination were done solely by
     6    reason of S.C.'s disability and therefore violated the Rehabilitation Act generally and 29 U.S.C.
     7    §794(a) specifically.
     8        219. Defendant ABCUSD committed the acts and omissions alleged herein with deliberate
     9    indifference to Plaintiff's rights because Defendant ABCUSD were on notice that S.C. 's required
    10    intensive mental health and behavioral services, and an appropriate placement, and that the lack
    11   of the aforementioned were resulting in significant disruption to his education and foster care
    12   and/or causing him to be held at a psychiatric hospital and/or juvenile hall placement.
    13        220. Defendant ABCUSD' s acts and omissions alleged herein violated 34 C.F.R.
    14   §§104.4(b)(l)(i) and 104.33(a) and (d) and excluded S.C. from participation in, denied him the
    15   benefit of, and subjected him to discrimination under their programs and activities. The
    16   foregoing exclusion, denial and discrimination were done solely by reason of S.C.'s disability
    17   and therefore violated the Rehabilitation Act generally and 29 U.S.C. 'i[794(a) specifically.
    18        221. As the direct and proximate result of Defendant ABCUSD's failure to provide those

    19   aforementioned related aids, services and placement and discriminatory actions, S.C. (1) was
    20   physically injured and his mental impaim1ent was exacerbated, (2) suffered emotional distress,
    21   and humiliation, (3) was deprived of educational services, mental health services, behavioral
    22   supports, placement, and case management services in the community, and (4) and experienced a
    23   permanent loss of developmental opportunity.
    24        222. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs
    25   incurred in bringing this action
    26   II
    27   II
    28   II

                                                            35
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      1   Causes ofAction as to Defendant LA USD

     2

     3                                   FIFTEENTH CAUSE OF ACTION
                                       Negligence and Negligent Supervision
     4
                        by PlaintiffS.C. against Defendants LAUSD and DOES 21 through 30
     5
     6      223. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

     7    through 222, inclusive, as though set forth fully herein.

     8      224. Defendant LAUSD and their employees DOES 21 through 30, inclusive, (collectively

     9    herein "DEFENDANTS"), owed S.C. a duty to care for, protect, and oversee his placements and

    10    foster care and mental health services.

    11      225. DEFENDANTS had a special relationship with Plaintiff, which imposes independent

    12    affirmative duty of care owed by DEFENDANTS to Plaintiff.

    13      226. California Govemment Code §820(a) provides that a public employee is liable for injury

    14    proximately caused by his/her own negligent or wrongful act or omission to the same extent as a

    15    private person. At all times DOES 21 through 30 were acting within the course and scope of their

    16    public employment by LAUSD.

    17     227. DEFENDANTS knew or should have known S.C. was a person with a disability whose

    18    disabilities required mental health and behavioral health services as described in Paragraphs 13

    19    through 17, inclusive, because Plaintiff had a record of his disabilities and DEFENDANTS

    20    regarded him as an individual with disabilities.

    21     228. Given his disabilities, Plaintiff S.C. was particularly vulnerable, thus requiring

    22    DEFENDANTS to exercise a higher degree of vigilance than would be necessary for an

    23    individual with no disabilities.

    24     229. DEFENDANTS breached their aforementioned duties by failing to provide a safe and

    25    secure placement with intensive mental health and behavioral services, resulting in his frequent

    26    elopement and exposure to violence and harm, and by confining him in a psychiatric hospital

    27    and/or juvenile hall to his detriment.

    28     230. Defendant LAUSD is vicariously and otherwise liable for the torts of their employees

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           DOES 21 through 30, inclusive, who were acting within the scope of their employment when

      2    they intentionally or negligently failed to train, supervise, discipline, or terminate employees

      3    who facilitated, encouraged, ordered, consented to, or engage in the actions described herein. See

      4    Cal. Gov. Code§ 815.2(a).

      5     231. S.C.'s injuries were the proximate and foreseeable result of the absence of safeguards

      6   DEFENDANTS had a duty to provide. Furthermore, S.C.'s injuries were the proximate and

      7   foreseeable as DEFENDANTS were aware of S.C.'s disability related behavior based on his

      8   education and juvenile court records.

      9     232. S.C. suffered severe emotional and physical distress including humiliation, pain and

     10   suffering.

     11     233. Plaintiff S.C. seeks general damages, nominal damages, as well as costs incurred in

     12   bringing this action.

     13
    14                                   SIXTEENTH CAUSE OF ACTION
                                       Violation of Mandatory Statutory Duties
    15
                        by Plaintiff S.C. against Defendants LAUSD and DOES 21 through 30
    16

    17      234. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

    18    through 233, inclusive, as though set forth fu)]y herein.

    19     235. California Government Code §815.6 provides a private right of action where a public

    20    entity is under a mandatory duty imposed by an enactment that is designed to protect against the

    21    risk of a particular kind of injury, such that the public entity is liable for an injury of that kind

    22    proximately caused by failure to discharge the duty unless the public entity establishes that is

    23    exercised reasonable diligence to discharge that duty.

    24     236. California Government Code §815.2 provides that a public entity is liable for injury

    25    proximately caused by an act or omission of an employee of the public entity within the scope of

    26    his or her employment if the act or omission of an employee or his personal representative.
    27     237. California Government Code §815.4 provides that a public entity is liable for injury
    28    proximately caused by a tortious act or omission of an independent contractor of the public entity

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         1    to the same extent that the public entity would be subject to liability if it were a private person.
     2            238. California Government Code §7579.1, McKinney-Vento Homeless Assistance Act, 42

     3        U.S.C.§11431, et seq., and Title 34 of the California Code of Regulations, §300.l IS(a), set forth
     4        the generally described legislative intent:
     5                     a. To ensure that Plaintiff as a dependent child of the Juvenile Court be entitled to
     6                        participate in age-appropriate schooling, extracurricular, enrichment, and social
     7                        activities;
     8                     b. To ensure that Plaintiff as a homeless child and youth be entitled to the same
     9                        educational rights and protections as other children and youth; and
    10                     c. To ensure that Plaintiff receives appropriate special education and related
    11                        services, which includes placement in order to meet Plaintiff's needs.
    12            239. At all times mentioned herein, Defendants LAUSD and DOES 21 through 30, inclusive,
    13       (collectively herein "DEFENDANTS") owed the following mandatory duties of care to Plaintiff

    14       pursuant to the following statutes, among others:
    15                    a. Pursuant to California Government Code §815.6, DEFENDANTS owed
    16                        mandatory duties impose by the enactment and regulations described below which
    17                        were designed to protect Plaintiff against the risk of the particular injuries
    18                        complained herein and said Defendants are therefore liable to Plaintiff for such
    19                        injuties proximately suffered;
    20                    b. Pursuant to California Government Code §7579.1, DEFENDANTS were
    21                        mandated to ensure that Plaintiff receives an appropriate educational placement
    22                        that commences without delay upon his discharge from a hospital, institution,
    23                        facility or foster family home;
    24                    c. Pursuant to McKinney-Vento Homeless Assistance Act, 42 U.S.C. §11431, et
    25                        seq., DEFENDANTS were mandated to provide Plaintiff with equal access to the
    26                        same free, appropriate public education as provided to other children and youth;
    27                        and
    28       II

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         1               d. Pursuant to Title 34 of the California Code of Regulations, §300.115(a),

      2                      DEFENDANTS were mandated to ensure that a continuum of alternative

      3                      placements was available to meet Plaintiffs needs, and consider other

      4                      placements.
      5        240. Plaintiff is informed, believes, and alleges that at all times herein DEFENDANTS
      6      violated the mandatory statutory duties imposed upon them by California Government Code
      7      §7579.1, McKinney-Vento Homeless Assistance Act, 42 U.S.C. §11431, et seq., and Title 34 of
      8      the California Code of Regulations, §300.1 l 5(a), by the following:

      9                  a. Failing to provide Plaintiff his related aids, services, and placement to regulate his

     10                      mental health and behavior;
     11                  b. Failing to place Plaintiff in an appropriate placement which met his special needs
     12                      and was in the least restrictive setting possible;
    13                   c. Excluding him from same age peers for his disability related behavior; and
    14                   d. Holding him for an extensive period at COLLEGE HOSPITAL and/or Juvenile
    15                       Hall.

    16        241. DEFENDANTS breached each and every of their various mandatory duties of care owed
    17       to Plaintiff as generally alleged herein so as to proximately cause Plaintiff to suffer the injuries
    18       and damages as alleged herein.
    19        242. DEFENDANTS breaches of their mandatory duties of care owed to Plaintiff as described
    20       herein was the result of the Defendants' failure to exercise reasonable diligence in the discharge
    21       of its respective duties owed to Plaintiff as set forth herein.
    22        243. DEFENDANTS breaches of their mandatory duties of care owed to Plaintiff as set forth
    23       herein establishes a presumption of the DEFENDANTS' negligence pursuant to California
    24       Evidence Code §669.

    25        244. As the direct and proximate result of DEFENDANTS' acts and/or omissions, S.C. (J)

    26       was physically injured and his condition was exacerbated, (2) suffered emotional distress, and
    27       humiliation, (3) was deprived of educational services, mental health services, behavioral
    28       supports, and placement, and (4) and experienced a permanent loss of developmental

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             1   opportunity. Plaintiff has suffered general damages in an amount according to proof.
         2         245. As a further proximate result of the breach of mandatory duties al1eged against
         3       DEFENDANTS, Plaintiff has incurred and will continue to incur medical, psychological and
         4       related expenses in an amount according to proof. As a further proximate result of
         5       DEFENDANTS' acts and/or omissions, Plaintiff has sustained a loss of earning capacity in an
         6       amount according to proof.
         7

         8                                    SEVENTEENTH CAUSE OF ACTION
                                                       Unruh Civil Rights Act
         9
                               by Plaintiff S.C. against Defendants LAUSD and DOES 21 through 30
        10                                           Cal. Civ. Code §§51, et seq.

        11         246. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
        12       through 245, inclusive, as though set forth fully herein.
        13         247. As defined for purposes of the Unruh Civil Rights Act, (the "Unruh Act") by Civil Code
        14       §51 (e)(l ), and described in Paragraphs 13 through 17, inclusive, Plaintiff S.C. has a disability
        15       witWn the meaning of the Unruh Act.
        16         248. Defendant LAUSD is a business establishment for the purposes of the Unruh Act.
        17         249. Defendant DOES 21 through 30, inclusive, are employees of the Defendant LAUSD and
        18       are sued in both their official and individual capacity.
        19        250. Pursuant to Civil Code §51(f), the ADA violation committed by Defendants LAUSD and
        20       DOES 21 through 30, inclusive, as alleged in Paragraphs 271 through 281, inclusive, also
        21       constitutes a violation of the Unruh Act against all Defendants.
        22        251. Alternatively, by engaging in the actions described in Paragraphs 13 through 71,
        23       inclusive, Defendants LAUSD and DOES 21 through 30, inclusive, engaged in discriminatory
        24       conduct that denied, aided, or incited a denial of the rights of Plaintiff S.C. to enjoy the full and
        25       equal access to his acconnnodations, goods, facilities, and services.
        26        252. As described in Paragraphs 13 through 71, inclusive, Defendants LAUSD and DOES 21
        27       through 30, inclusive, actions were intentional, willful, and affirmatively discriminatory towards
        28       Plaintiff's rights under the Unruh Act because Defendants' refusal to place Plaintiff was

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             1   deliberate, with the full knowledge that their failure to act resulted in his prolonged and

         2       continued confinement in a psychiatric hospital and/or juvenile hall.

         3         253. As the direct and proximate result of Defendants LAUSD and DOES 21 through 30,

         4       inclusive, failure to provide those aforementioned related aids, services and placement and

         5       discriminatory actions, S.C. (I) was physically injured and his mental impairment was

         6       exacerbated, (2) suffered emotional distress, and humiliation, (3) was deprived of educational

         7       services, mental health services, behavioral supports, placement, and case management services

         8       in the community, and (4) and experienced a permanent loss of developmental opportunity.

         9         254. Under Civil Code §52(a), Plaintiff S.C. is entitled to recover statutory damages, general

        IO       damages as well as treble damages according to proof.

        11

        12                                    . EIGHTEENTH CAUSE OF ACTION
                                         Violation of California Government Code §11135
        13
                               by Plaintiff S.C. against Defendants LAUSD and DOES 21 through 30
        14

        15         255. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

        16       through 254, inclusive, as though set forth fully herein.

        17        256. California Government Code § 11135 states in relevant part that "[N]o person in the State

        18       of California shall on the basis of ... mental disability, physical disability, medical condition ..

        19       . be unlawfully denied full and equal access to the benefits of, or be unlawfully subjected to

        20       discrimination under, any program or activity that is conducted, operated, or administered by the

        21       state or by any state agency, is funded directly by the state, or receives financial assistance from

        22       the state."

        23        257. At all times relevant to this action, Plaintiff was and is a qualified individual within the

        24       meaning of the California Government Code §11135.

        25        258. At all times relevant, Defendants LAUSD and DOES 21 through 30, inclusive,

        26       (collectively herein "DEFENDANTS") received financial assistance from the State of California

        27       within the meaning of Government Code § 11135 et seq.

        28        259. California Government Code §l l 135(b) incorporated the protections and prohibitions

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               contained in the Americans with Disabilities Act ("ADA") and it's implementations regulations.
          2     260. DEFENDANTS have violated California Government Code§ l 1135 that the conduct
          3    alleged herein constitutes a violation of the ADA, Section 504 of the Rehabilitation Act, and the
          4   Unruh Civil Rights Act.
          5     261. DEFENDANTS have failed to provide Plaintiff with full and equal access to their
          6   facilities, programs, services and activities as required by California Government Code §11135
          7   et seq.
          8     262. As a proximate result of DEFENDANTS' violation of California Government Code
          9   §11135, Plaintiff has been injured as set forth herein.
         10     263. Plaintiff seeks equitable relief, and general damages.
         11

         12                                NINETEENTH CAUSE OF ACTION
                                                  Violation of Civil Rights
         13                 by PlaintiffS.C. against Defendants LAUSD and DOES 21 through 30
         14                                            42 u.s.c. §1983

        15      264. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs l
        16    through 263, inclusive, as though set forth fully herein.
        17      265. Plaintiff is informed, believes, and alleges that in doing all of the things alleged,
        18    Defendant LAUSD acted under color oflaw of statutes, regulations, ordinances, customs, usages
        19    of the LAUSD and the State of California and in the performance of their official duties.
        20     266. At all times, Defendant LAUSD had a duty to adequately train, direct, supervise, and
        21    control the actions of Defendant LA USD' employees, such as DOES 21 through 30, inclusive, to
        22    enforce those rules and regulations set forth necessary for the protection and promotion of
        23    Plaintiff best interests and the implementation of Plaintiff's case plan, and to enforce compliance
        24    with the Juvenile Court's orders in effect.
        25     267. At all times, Defendant DOES 21 through 30, inclusive, were acting within the scope of
        26    their employment and pursuant to the official policies, customs and practices of Defendant
        27    ABCUSD. These unlawful policies and practices were enforced by Defendant LAUSD, and were
        28    the moving force, proximate cause, or affirmative link behind the conduct causing injury to

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         Plaintiff.
     2     268. At all times, Defendant LAUSD, who supervised the individuals who unlawfully violated
     3   Plaintifrs rights, developed, encouraged and tolerated the unlawful policies and practices
     4   described in the foregoing allegations. Defendant LAUSD acted knowingly and with deliberate
     5   indifference to the Constitutional rights of citizens, of Plaintiff in particular, and maintained and
     6   pennitted an official policy, custom and practice of permitting the occurrence of the types of
     7   wrongs set forth. These policies, customs, and practices, include, but are not limited to,
     8   knowingly permitting its agents and employees to act with deliberate indifference in the
     9   implementation of and in the failure to implement the various alleged laws, enactments, statutes,
    10   and regulations for its minor dependents such as Plaintiff.
    11     269. Defendants LAUSD and DOES 21 through 30, inclusive, conduct as alleged threatened to
    12   deprive and did deprive Plaintiff of his rights, privileges, and immunities as secured to him by
    13   the Constitution of the United States, including Plaintiffs right to safety and freedom from harm,
    14   and the right not to be deprived of state or federally created liberty or property rights as
    15   guaranteed by the First, Fourth, Eighth, and Fourteenth Amendment to the United States
    16   Constitution.
    17    270. In addition to economic and non-economic damages, Defendants LAUSD and DOES 21
    18   through 30, inclusive, violations of Plaintiffs civil rights as alleged entitles Plaintiff to
    19   compensatory damages, attorney fees and other remedies, all of which are provided for in 42
    20   U.S.C. §1983, et seq.
    21
    22                                 TWENTIETH CAUSE OF ACTION
                                          Americans with Disabilities Act
    23
                                     by Plaintiff S.C. against Defendant LAUSD
    24                                      42 U.S. C. §§ 12101, et seq.

    25    271. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    26   through 270, inclusive, as though set forth fully herein.
    27    272. Defendant LAUSD is a public entity within the meaning of Title II of the Americans with
    28   Disabilities Act ("ADA"). See 42 U.S.C. §12131(1).

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         1     273. Under Title II of the ADA, "[N]no qualified individual with a disability shall, by reason

     2       of such disability, be excluded from participation in or be denied the benefits of services,

     3       programs, or activities of a public entity, or be subjected to discrimination by any such entity."

     4       See 42 U.S.C. §12132.

     5         274. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one

     6       or more of his major life activities, including (I) learning, (2) concentrating, (3) thinking, (4)

     7       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments

     8       constitute a "disability" as defined in 42 U.S. C. § 12102(1).

     9         275. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff

    10       S.C. is a qualified individual within the meaning of the ADA and regulations issued thereunder.

    11         276. Defendant LAUSD knew or should have known S.C. was a person with a disability

    12       whose disabilities required mental health and behavioral health services as described in

    13       Paragraphs 13 through 17, inclusive, because Plaintiff had a record of his disabilities and

    14       DEFENDANTS regarded him as an individual with disabilities.

    15         277. Defendant LAUSD knew or should have known that Plaintiff required related aids,

    16       services and placement in order to sustain any placement in the most integrated setting, and as

    17       such, obtain benefit from its programs, because it had a record of the need for these supports

    18       from assessments found in Plaintiffs education and juvenile court records.

    19        278. Defendant LAUSD discriminated against S.C., when it (1) failed to provide intensive

    20       mental health and behavioral services required to sustain a placement, (2) regularJy excluded him

    21       from placements because of disability related behavior, (3) denied him access to the most

    22       integrated setting appropriate to his needs, and (4) confined him for an extensive period at

    23       COLLEGE HOSPITAL and/or juvenile hall, thereby segregating him from society and denying

    24       him the opportunity to benefit from its programs.

    25        279. Defendant LAUSD committed the acts and omissions alleged herein with deliberate

    26       indifference to Plaintiff's rights because Defendant LAUSD was on notice that S.C.'s required

    27       intensive mental health and behaviors services, and an appropriate placement, and that the lack

    28       of the aforementioned were resulting in significant disruption to his education and foster care

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             I   and/or causing him to be held at a psychiatric hospital and/or juvenile hall placement.
         2         280. As the direct and proximate result of Defendant LAUSD's failure to provide those
         3       aforementioned related aids, services and placement and discriminatory actions, S.C. (1) was
         4       physically injured and his mental impairment was exacerbated, (2) suffered emotional distress,
         5       and humiliation, (3) was deprived of educational services, mental health services, behavioral
         6       supports, placement, and case management services in the community, and (4) and experienced a
         7       permanent loss of developmental opportunity.
         8         281. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs
         9       incurred in bringing this action.
        IO

        11                                   TWENTY-FIRST CAUSE OF ACTION
                                               Section 504 of The Rehabilitation Act
        12                                   by PlaintiffS.C. against Defendant LAUSD
        13                                            29 U. S. C. §§ 794, et seq.

        14         282. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
        15       through 281, inclusive, as though set forth fully herein.
        16         283. Under the Rehabilitation Act, a qualified individual with a disability shall not, solely by
        17       reason of their disability, be excluded from participation in or be denied the benefits of, or be
        18       subjected to discrimination under any program or activity receiving federal financial assistance.
        19       See 29 U.S. C. § 794.

        20        284. Under the Rehabilitation Act, the phrase "program or activity" includes local educational
        21       agencies and other school systems. 29 U.S. C. § 794(b)(2)(B).
        22        285. Defendant LAU SD was a recipient of federal funding within the meaning of Section 504
        23       of the Rehabilitation Act ("The Rehabilitation Act"). See 29 U.S.C. § 794(b).
        24        286. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one
        25       or more of his major life activities, including (1) learning, (2) concentrating, (3) thinking, (4)
        26       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments
        27       constitute a "disability" as defined in 34 C.F.R. §J04.30),
        28        287. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff

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         I   S.C. is a qualified individual within the meaning of The Rehabilitation Act and regulations

     2       issued thereunder.

     3         288. Defendant LAUSD knew or should have known that Plaintiff required related aids,

     4       services and placement in order to sustain any placement in the most integrated setting, and as

     5       such, obtain benefit from its programs, because it had a record of the need for these supports

     6       from assessments found in Plaintiff's education and juvenile court records.

     7         289. Defendant LAUSD discriminated against S.C., when they (I) failed to provide intensive

     8       mental health and behavioral services required to sustain a placement, (2) regularly excluded him

     9       from placements because of disability related behavior, (3) denied him access to the most

    10       integrated setting appropriate to his needs, and (4) confined him for an extensive period at

    11       COLLEGE HOSPITAL and/or Juvenile Hall, thereby segregating him from society and denying

    12       him the opportunity to benefit from its programs.

    13         290. Defendant LAUSD violated 34 C.F.R. § 104.33(a) & (b) and effectively excluded S.C.

    14       from participation in, denied him the benefit of, and subjected him to discrimination under its

    15       programs and activities. The foregoing exclusion, denial and discrimination were done solely by

    16       reason of S.C. 's disability and therefore violated the Rehabilitation Act genera11y and 29 U.S.C.

    17       §794(a) specifically.

    18        291. Defendant LAUSD committed the acts and omissions alleged herein with deliberate
    19       indifference to Plaintiff's rights because Defendant LAUSD were on notice that S.C.'s required

    20       intensive mental health and behavioral services, and an appropriate placement, and that the lack

    21       of the aforementioned were resulting in significant disruption to his education and foster care

    22       and/or causing him to be held at a psychiatric hospital and/or juvenile hall placement.

    23        292. Defendant LAUSD's acts and omissions alleged herein violated 34 C.F.R.

    24       §§ 104.4(b)(l )(i) and I 04.33(a) and (d) and excluded S.C. from participation in, denied him the

    25       benefit of, and subjected him to discrimination under their programs and activities. The

    26       foregoing exclusion, denial and discrimination were done solely by reason of S.C.'s disability

    27       and therefore violated the Rehabilitation Act general1y and 29 U.S.C. ,794(a) specifically.

    28        293. As the direct and proximate result of Defendant LAUSD's failure to provide those

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          aforementioned related aids, services and placement and discriminatory actions, S.C. (I) was

     2    physically injured and his mental impairment was exacerbated, (2) suffered emotional distress,

     3    and humiliation, (3) was deprived of educational services, mental health services, behavioral

     4   supports, placement, and case management services in the community, and (4) and experienced a

     5   permanent loss of developmental opportunity.

     6     294. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs

     7   incurred in bringing this action

     8

     9   Causes o[Action as to Defendant COLLEGE HOSPITAL

    10

    11                              TWENTY-SECOND CAUSE OF ACTION
                                      Negligence and Negligent Supervision
    12
               by Plaintiff S.C. against Defendants COLLEGE HOSPITAL and DOES 31 through 40
    13

    14     295. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

    15   through 294, inclusive, as though set forth fully herein.

    16     296. Defendant COLLEGE HO SPITAL and their employees DOES 31 through 40, inclusive,

    17   (collectively herein "DEFENDANTS"), owed S.C. a duty to care for, protect, and oversee his

    18   placements and foster care and mental health services.

    19     297. DEFENDANTS had a special relationship with Plaintiff, which imposes independent

    20   affirmative duty of care owed by DEFENDANTS to Plaintiff.

    21    298. California Government Code §820(a) provides that a public employee is liable for injury

    22   proximately caused by his/her own negligent or wrongful act or omission to the same extent as a

    23   private person. At all times DOES 31 through 40, inclusive, were acting within the course and

    24   scope of their public employment by COLLEGE HOSPlTAL.

    25    299. DEFENDANTS knew or should have known S.C. was a person with a disability whose

    26   disabilities required mental health and behavioral health services as described in Paragraphs 13

    27   through 17, inclusive, because Plaintiff had a record of his disabilities and DEFENDANTS

    28   regarded him as an individual with disabiJities.

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     1     300. Given his disabilities, Plaintiff S.C. was particularly vulnerable, thus requiring

     2   DEFENDANTS to exercise a higher degree of vigilance than would be necessary for an

     3   individual with no disabilities.
     4     301. DEFENDANTS breached their aforementioned duties by failing to provide a safe and
     5   secure placement with intensive mental health and behavioral services, resulting in his frequent

     6   elopement and exposure to violence and harm, and by confining him in a psychiatric hospital

     7   and/or juvenile hall to his detriment.

     8     302. Defendant COLLEGE HOSPITAL is vicariously and otherwise liable for the torts of

     9   their employees DOES 31 through 40, inclusive, who were acting within the scope of their
    10   employment when they intentionally or negligently failed to train, supervise, discipline, or

    11   terminate employees who facilitated, encouraged, ordered, consented to, or engage in the actions

    12   described herein. See Cal. Gov. Code§ 815.2(a).

    13     303. S.C.'s injuries were the proximate and foreseeable result of the absence of safeguards
    14   DEFENDANTS had a duty to provide. Furthermore, S.C.'s injuries were the proximate and
    15   foreseeable as DEFENDANTS were aware of S.C.'s disability related behavior based on his

    16   education and juvenile court records.

    17    304. S.C. suffered severe emotional and physical distress including humiliation, pain and

    18   suffering.

    19    305. Plaintiff S.C. seeks general damages, nominal damages, as well as costs incurred in
    20   bringing this action.
    21

    22                               TWENTY-THIRD CAUSE OF ACTION
                                     Violation of Mandatory Statutory Duties
    23
              by Plaintiff S.C. against Defendants COLLEGE HOSPITAL and DOES 31 through 40
    24
    25    306. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

    26   through 306, inclusive, as though set forth fully herein.

    27    307. California Government Code §815.6 provides a private right of action where a public
    28   entity is under a mandatory duty imposed by an enactment that is designed to protect against the

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         1   risk of a particular kind of injury, such that the public entity is liable for an injury of that kind
      2      proximately caused by failure to discharge the duty unless the public entity establishes that is
      3      exercised reasonable diligence to discharge that duty.
      4        308. California Government Code §815.2 provides that a public entity is liable for injury
      5      proximately caused by an act or omission of an employee of the public entity within the scope of
     6       his or her employment if the act or omission of an employee or his personal representative.
     7        309. California Government Code §815.4 provides that a public entity is liable for injury
     8       proximately caused by a to11ious act or omission of an independent contractor of the public entity
     9       to the same extent that the public entity would be subject to liability if it were a private person.
     l0       310. California Government Code §7579.1, set forth the generally described legislative intent,
    11       that the operator of a hospital or medical facility, or the agency that placed a child in a licensed
    12       children's institution or foster family home, shall, at least IO days prior to the discharge of a
    13       disabled youth, notify in writing the local educational agency in which the special education
    14       program for the child is being provided, and the receiving special education local plan area
    15       where the child is being transferred, of the impending discharge.
    16        311. At all times mentioned herein, Defendants COLLEGE HOSPITAL and DOES 31 through
    17       40, inclusive, (collectively herein "DEFENDANTS") owed the following mandatory duties of
    18       care to Plaintiff pursuant to the following statutes, among others:
    19                  a. Pursuant to California Government Code §815.6, DEFENDANTS owed
    20                      mandatory duties impose by the enactment and regulations described below which
    21                      were designed to protect Plaintiff against the risk of the particular injuries
    22                      complained herein and said Defendants are therefore liable to Plaintiff for such
    23                      injuries proximately suffered; and
    24                  b. Pursuant to California Government Code §7579.1, DEFENDANTS were
    25                      mandated to inform in writing specific local educational agencies of Plaintiff's
    26                      discharge to ensure that Plaintiff receives an appropriate educational placement
    27                      that commences without delay upon his discharge from a hospital, institution,
    28                      facility or foster family home.

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        1     312. Plaintiff is infonned, believes, and alleges that at all times herein DEFENDANTS

     2      violated the mandatory statutory duties imposed upon them by California Government Code

     3      §7579.1 by the following:
     4                  a. Failing to infonn in writing the local educational agency in which the Plaintiff's
     5                      special education program was being provided, and the receiving special
     6                      education local plan area where Plaintiff was being transferred, of his impending
     7                      discharge; and
     8                  b. Failing to provide in writing Plaintiffs receiving special education local plan area

     9                      with a copy of his individualized education plan, the identity of the individual
    10                      responsible for representing Plaintiff's interests for educational and related
    11                      services for his impending placement, and other relevant information to meet
    12                      Plaintiff's needs.
    13       313. DEFENDANTS breached each and every of their various mandatory duties of care owed
    14      to Plaintiff as generally alleged herein so as to proximately cause Plaintiff to suffer the injuries
    15      and damages as alleged herein.
    16       314. DEFENDANTS' breaches of their mandatory duties of care owed to Plaintiff as
    17      described herein was the result of the Defendants' failure to exercise reasonable diligence in the
    18      discharge of its respective duties owed to Plaintiff as set forth herein.
    19       315. DEFENDANTS' breaches of their mandatory duties of care owed to Plaintiff as set forth

   20       herein establishes a presumption of the DEFENDANTS' negligence pursuant to California
   21       Evidence Code §669.
   22        316. As the direct and proximate result of DEFENDANTS' acts and/or omissions, S.C. (1)
   23       was physically injured and his condition was exacerbated, (2) suffered emotional distress, and
   24       humiliation, (3) was deprived of educational services, mental health services, behavioral
   25       supports, and placement, and (4) and experienced a pennanent Joss of developmental

   26       opportunity. Plaintiff has suffered general damages in an amount according to proof.
   27        317. As a further proximate result of the breach of mandatory duties alleged against
   28       DEFENDANTS, Plaintiff has incurred and will continue to incur medical, psychological and

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         1    re]ated expenses in an amount according to proof. As a further proximate result of
     2        DEFENDANTS' acts and/or omissions, Plaintiff has sustained a loss of earning capacity in an
     3        amount according to proof.
     4

     5                                  TWENTY-FOURTH CAUSE OF ACTION
                                                  Unruh Civil Rights Act
     6             by Plaintiff S.C. against Defendants COLLEGE HOSPITAL and DOES 31 through 40
     7                                           Cal. Civ. Code §§51, et seq.

     8         318. Plaintiff incorporates by this reference the al1egations set forth above in Paragraphs 1
     9       through 317, inclusive, as though set forth fully herein.
    10         319. As defined for purposes of the Unruh Civil Rights Act, (the "Unruh Act") by Civil Code
    11       §51(e)(l), and described in Paragraphs 13 through 17, inc]usive, PlaintiffS.C. has a disability
    12       within the meaning of the Unruh Act.
    13         320. Defendant COLLEGE HOSPITAL is a business establishment for the purposes of the

    14       Unruh Act.
    15         321. Defendant DOES 31 through 40, inclusive, are employees of the Defendant COLLEGE
    16       HOSPITAL and are sued in both their official and individual capacity.
    17         322. Pursuant to Civil Code §51 (f), the ADA violation committed by Defendants COLLEGE
    18       HOSPITAL and DOES 31 through 40, inclusive, as alleged in Paragraphs 343 through 355,
    19       inc]usive, also constitutes a violation of the Unruh Act against all Defendants.
    20         323. AJtematively, by engaging in the actions described in Paragraphs 13 through 71,

    21       inclusive, Defendants COLLEGE HOSPITAL and DOES 31 through 40, inclusive, engaged in
    22       discriminatory conduct that denied, aided, or incited a denial of the rights of Plaintiff S.C. to
    23       enjoy the full and equal access to his accommodations, goods, facilities, and services.
    24        324. As described in Paragraphs 13 through 71, inclusive, Defendants COLLEGE HOSPITAL
    25       and DOES 31 through 40, inclusive, actions were intentional, willful, and affirmatively
    26       discriminatory towards Plaintiff's rights under the Unruh Act because Defendants' refusal to
    27       place Plaintiff was deliberate, with the full knowledge that their failure to act resulted in his
    28       prolonged and continued confinement in a psychiatric hospital and/or juvenile hall.

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         I     325. As the direct and proximate result of Defendants COLLEGE HOSP ITAL and DOES 31

     2       through 40, inclusive, failure to provide those aforementioned related aids, services and

     3       placement and discriminatory actions, S.C. (1) was physically injured and his mental impainnent

     4       was exacerbated, (2) suffered emotional distress, and humiliation, (3) was deprived of

     5       educational services, mental health services, behavioral supports, placement, and case

     6       management services in the community, and (4) and experienced a permanent loss of

     7       developmental opportunity.

     8         326. Under Civil Code §52(a), Plaintiff S.C. is entitled to recover statutory damages, general

     9       damages as well as treble damages according to proof.

    10

    11                                  TWENTY-FIFTH CAUSE OF ACTION
                                    Violation of California Government Code §11135
    12
                   by Plaintiff S.C. against Defendants COLLEGE HOSPITAL and DOES 31 through 40
    13

    14         327. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

    15       through 326, inclusive, as though set forth fully herein.

    16        328. California Government Code § 11135 states in relevant part that "[N]o person in the State

    17       of California shall on the basis of ... mental disability, physical disability, medical condition ..

    18       . be unlawfully denied full and equal access to the benefits of, or be unlawfully subjected to

    19       discrimination under, any program or activity that is conducted, operated, or administered by the

    20       state or by any state agency, is funded directly by the state, or receives financial assistance from

    21       the state."

    22        329. At all times relevant to this action, Plaintiff was and is a qualified individual within the
    23       meaning of the California Government Code §11135.

    24        330. At all times relevant, Defendants COLLEGE HOSPITAL and DOES 31 through 40,
    25       inclusive, (collectively herein "DEFENDANTS") received financial assistance from the State of

    26       California within the meaning of Government Code §11135 et seq.

    27        331. California Government Code §l 1135(b) incorporated the protections and prohibitions

    28       contained in the Americans with Disabilities Act {"ADA") and it's implementations regulations.

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        1     332. DEFENDANTS have violated California Government Code § 11135 that the conduct

     2      alleged herein constitutes a violation of the ADA, Section 504 of the Rehabilitation Act, and the

     3      Unruh Civil Rights Act.

     4        333. DEFENDANTS have failed to provide Plaintiff with full and equal access to their

     5      facilities, programs, services and activities as required by California Government Code § 11135

     6      et seq.

     7        334. As a proximate result of DEFENDANTS' violation of California Government Code

     8      § 11135, Plaintiff has been injured as set forth herein.

     9        335. Plaintiff seeks equitable relief, and general damages.

    10

    11                                   TWENTY-SIXTH CAUSE OF ACTION
                                              Violation of Civil Rights
    12
                  by Plaintiff S.C. against Defendants COLLEGE HOSPITAL and DOES 31 through 40
    13                                               42 u.s.c. §1983

    14        336. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

    15      through 335, inclusive, as though set forth fully herein.

    16        337. Plaintiff is infonned, believes, and alleges that in doing all of the things alleged,

    17      Defendant COLLEGE HOSPITAL acted under color of law of statutes, regulations, ordinances,

    18      customs, usages of the COLLEGE HOSPITAL and the State of California and in the

    19      perfonnance of their official duties.

    20       338. At all times, Defendant COLLEGE HOSPITAL had a duty to adequately train, direct,

    21      supervise, and control the actions of Defendant COLLEGE HOSPITAL' employees, such as

    22      DOES 31 through 40, inclusive, to enforce those rules and regulations set forth necessary for the

    23      protection and promotion of Plaintiff best interests and the implementation of Plaintiff's case

   24       plan, and to enforce compliance with the Juvenile Court's orders in effect.

   25        339. At all times, Defendant DOES 31 through 40, inclusive, were acting within the scope of

   26       their employment and pursuant to the official policies, customs and practices of Defendant

   27       COLLEGE HOSPITAL. These unlawful policies and practices were enforced by Defendant

   28       COLLEGE HOSPITAL, and were the moving force, proximate cause, or affinnative link behind

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         I   the conduct causing injury to Plaintiff.
     2         340. At all times, Defendant COLLEGE HOSPITAL, who supervised the individuals who
     3       unlawfully violated Plaintiff's rights, developed, encouraged and tolerated the unlawful policies
     4       and practices described in the foregoing allegations. Defendant COLLEGE HOSPITAL acted
     5       knowingly and with deliberate indifference to the Constitutional rights of citizens, of Plaintiff in
     6       particular, and maintained and permitted an official policy, custom and practice of permitting the
     7 occurrence of the types of wrongs set forth. These policies, customs, and practices, include, but
     8       are not limited to, knowingly permitting its agents and employees to act with deliberate
     9       indifference in the implementation of and in the failure to implement the various alleged laws,
    10       enactments, statutes, and regulations for its minor dependents such as Plaintiff.
    11         341. Defendants COLLEGE HOSPITAL and DOES 31 through 40, inclusive, conduct as
    12       alleged threatened to deprive and did deprive Plaintiff of his rights, privileges, and immunities as
    13       secured to him by the Constitution of the United States, including Plaintiff's right to safety and
    14       freedom from harm, and the right not to be deprived of state or federally created liberty or
    15       property rights as guaranteed by the First, Fourth, Eighth, and Fourteenth Amendment to the
    16       United States Constitution.
    17        342. In addition to economic and non-economic damages, Defendants COLLEGE HOSPITAL
    18       and DOES 31 through 40, inclusive, violations of Plaintiff's civil rights as alleged entitles
    19       Plaintiff to compensatory damages, attorney fees and other remedies, all of which are provided
    20       for in 42 U .S.C. § 1983, et seq.
    21
    22                                 TWENTY-SEVENTH CAUSE OF ACTION
                                              Americans with Disabilities Act
    23                           by PlaintiffS.C. against Defendant COLLEGE HOSPITAL
    24                                          42 U.S. C. §§ 12101, et seq.
                                                  42 U.S.C. §§12181, et seq.
    25

    26        343. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    27       through 342, inclusive, as though set forth fully herein.
    28        344. Defendant COLLEGE HOSPITAL is a public entity within the meaning of Title II of the

                                                          54
                                           COMPLAINT FOR MONETARY DAMAGES
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        1   Americans with Disabilities Act ("ADA"). See 42 U.S.C. §12131(1).

     2        345. Under Title II of the ADA, "[N]no qualified individual with a disability shall, by reason

     3      of such disability, be excluded from participation in or be denied the benefits of services,

     4      programs, or activities of a public entity, or be subjected to discrimination by any such entity."

     5      See 42 U.S.C. §12132.
     6        346. Alternatively to Paragraphs 344 through 345, inclusive, Defendant COLLEGE

     7      HOSPITAL is a private entity that operates a place of public accommodations within the

     8      meaning of Title III of the ADA. See 42 U.S.C. §12181(6)(7).

     9        347. Under Title III of the ADA, "[N]o individual shall be discriminated against on the basis

    10      of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

    11      advantages, or accommodations of any place of public accommodation by any person who owns,

    12      leases, or operates a place of public accommodation." See 42 U.S.C. §12182(a).

    13        348. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one

    14      or more of his major life activities, including (1) learning, (2) concentrating, (3) thinking, (4)

    15      communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments

    16      constitute a "disability" as defined in 42 U. S. C. § 12102(1 ).

    17        349. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff

    18      S.C. is a qualified individual within the meaning of the ADA and regulations issued thereunder.

    19       350. Defendant COLLEGE HOSPITAL knew or should have known S.C. was a person with a

   20       disability whose disabilities required mental health and behavioral health services as described in

   21       Paragraphs 13 through 17, inclusive, because Plaintiff had a record of his disabilities and

   22       Defendant regarded him as an individual with disabilities.

   23        351. Defendant COLLEGE HOSPITAL knew or should have known that Plaintiff required

   24       related aids, services and placement in order to sustain any placement in the most integrated

   25       setting, and as such, obtain benefit from its programs, because it had a record of the need for

   26       these supports from assessments found in Plaintiffs education and juvenile court records.

   27        352. Defendant COLLEGE HOSPITAL discriminated against S.C., when it (1) failed to

   28       provide intensive mental health and behavioral services required to sustain a placement, (2)

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         I   regularly excluded him from placements because of disability rel!:!~ed behavior, (3) denied him
     2       access to the most integrated setting appropriate to his needs, and (4) confined him for an
     3       extensive period at COLLEGE HOSPITAL and/or juvenile hall, thereby segregating him from
     4       society and denying him the opportunity to benefit from its programs.
     5         353. Defendant COLLEGE HOSPITAL committed the acts and omissions alleged herein with
     6       deliberate indifference to Plaintiff's rights because Defendant LAUSD was on notice that S.C.'s
     7       required intensive mental health and behaviors services, and an appropriate placement, and that
     8       the lack of the aforementioned were resulting in significant disruption to his education and foster
     9       care and/or causing him to be held at a psychiatric hospital and/or juvenile hall placement.
    10         354. As the direct and proximate result of Defendant COLLEGE HOSPITAL's failure to
    11       provide those aforementioned related aids, services and placement and discriminatory actions,
    12       S.C. (l) was physically injured and his mental impairment was exacerbated, (2) suffered
    13       emotional distress, and humiliation, (3) was deprived of educational services, mental health
    14       services, behavioral supports, placement, and case management services in the community, and
    15       (4) and experienced a permanent loss of developmental opportunity.
    16         355. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs
    17       incurred in bringing this action.
    18
    19                                 TWENTY-EIGHTH CAUSE OF ACTION
                                          Section 504 of The Rehabilitation Act
    20                          by PlaintiffS.C. against Defendant COLLEGE HOSPITAL
    21                                           29 U.S. C. §§ 794, et seq.

    22        356. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    23       through 355, inclusive, as though set forth fully herein.
   24         357. Under the Rehabilitation Act, a qualified individual with a disability shall not, solely by
   25        reason of their disability, be excluded from participation in or be denied the benefits of, or be
   26        subjected to discrimination under any program or activity receiving federal financial assistance.
   27        See 29 U. S. C. § 794.
   28         358. Under the Rehabilitation Act, the phrase "program or activity" includes local educational

                                                              56
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         l    agencies and other school systems. 29 U.S. C. § 794(b)(2)(B).

     2         359. Defendant COLLEGE HOSPITAL was a recipient of federal funding within the meaning

     3       of Section 504 of the Rehabilitation Act ("The Rehabilitation Act"). See 29 U.S.C. § 794(b).

     4         360. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one

     5       or more of his major life activities, including (1) learning, (2) concentrating, (3) thinking, (4)

     6       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments

     7       constitute a "disability" as defined in 34 C.F.R. §104.3(j).

     8         361. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff

     9       S.C. is a qualified individual within the meaning of The Rehabilitation Act and regulations

    10       issued thereunder.

    11         362. Defendant COLLEGE HOSPITAL knew or should have known that Plaintiff required

    12       related aids, services and placement in order to sustain any placement in the most integrated

    13       setting, and as such, obtain benefit from its programs, because it had a record of the need for

    14       these supports from assessments found in Plaintiffs education and juvenile court records.

    15         363. Defendant COLLEGE HOSPITAL discriminated against S.C., when they (1) failed to

    16       provide intensive mental health and behavioral services required to sustain a placement, (2)

    17       regularly excluded him from placements because of disability related behavior, (3) denied him

    18       access to the most integrated setting appropriate to his needs, and (4) confined him for an

    19       extensive period at COLLEGE HOSPITAL and/or Juvenile Hall, thereby segregating him from

    20       society and denying him the opportunity to benefit from its programs.

    21        364. Defendant COLLEGE HOSPITAL violated 34 C.F.R. §104.33(a) & (b) and effectively

    22       excluded S.C. from participation in, denied him the benefit of, and subjected him to

    23       discrimination under its programs and activities. The foregoing exclusion, denial and

    24       discrimination were done solely by reason of S.C.'s disability and therefore violated the

   25        Rehabilitation Act generally and 29 U.S.C. §794(a) specifically.

   26         365. Defendant COLLEGE HOSPITAL committed the acts and omissions alleged herein with

   27        deliberate indifference to Plaintiff's rights because Defendant COLLEGE HOSPITAL was on

   28        notice that S.C.'s required intensive mental health and behavioral services, and an appropriate

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         I   placement, and that the lack of the aforementioned were resulting in significant disruption to his

     2       education and foster care and/or causing him to be held at a psychiatric hospital and/or juvenile

     3       hall placement.

     4         366. Defendant COLLEGE HOSPITAL's acts and omissions alleged herein violated 34

     5       C.F.R. §§104.4(b)(l)(i) and 104.33(a) and (d) and excluded S.C. from participation in, denied

     6       him the benefit of, and subjected him to discrimination under their programs and activities. The

     7       foregoing exclusion, denial and discrimination were done solely by reason of S.C.'s disability

     8       and therefore violated the Rehabilitation Act generally and 29 U.S.C. ,794(a) specifically.

     9         367. As the direct and proximate result of Defendant COLLEGE HOSPITAL's failure to

    10       provide those aforementioned related aids, services and placement and discriminatory actions,

    11       S.C. (1) was physically injured and his mental impairment was exacerbated, (2) suffered

    12       emotional distress, and humiliation, (3) was deprived of educational services, mental health

    13       services, behavioral supports, placement, and case management services in the community, and

    14       (4) and experienced a pem1anent loss of developmental opportunity.

    15         368. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs

    16       incurred in bringing this action.

    17

    18       Causes ofAction as to Defendant REGIONAL CENTER
    19

    20                                   TWENTY-NINTH CAUSE OF ACTION
                                          Negligence and Negligent Supervision
    21
                   by Plaintiff S.C. against Defendants REGIONAL CENTER and DOES 41 through 50
    22

    23        369. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

    24       through 368, inclusive, as though set forth fully herein.

    25        370. Defendant REGIONAL CENTER and their employees DOES 41 through 50, inclusive,

   26        (collectively herein "DEFENDANTS"), owed S.C. a duty to care for, protect, and oversee his

   27        placements and foster care and mental health services.

   28         371. DEFENDANTS had a special relationship with Plaintiff, which imposes independent

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     1   affinnative duty of care owed by DEFENDANTS to Plaintiff.
     2     372. California Government Code §820(a) provides that a public employee is liable for injury
     3   proximately caused by his/her own negligent or wrongful act or omission to the same extent as a
     4   private person. At all times DOES 41 through 50 were acting within the course and scope of their

     5   public employment by Defendant REGIONAL CENTER.

     6     373. DEFENDANTS knew or should have known S.C. was a person with a disability whose

     7   disabilities required mental health and behavioral health services as described in Paragraphs 13
     8   through 17, inclusive, because Plaintiff had a record of his disabilities and DEFENDANTS
     9   regarded him as an individual with disabilities.
    IO     374. Given his disabilities, Plaintiff S.C. was particularly vulnerable, thus requiring

    11   DEFENDANTS to exercise a higher degree of vigilance than would be necessary for an
    12   individual with no disabilities.
    13     375. DEFENDANTS breached their aforementioned duties by failing to provide a safe and
    14   secure placement with intensive mental health and behavioral services, resulting in his frequent
    15   elopement and exposure to violence and hann, and by confining him in a psychiatric hospital
    16   and/or juvenile hall to his detriment.

    17    376. Defendant REGIONAL CENTER is vicariously and otherwise liable for the torts of their

    18   employees DOES 41 through 50, inclusive, who were acting within the scope of their
    19   employment when they intentionally or negligently failed to train, supervise, discipline, or
    20   terminate employees who facilitated, encouraged, ordered, consented to, or engage in the actions
    21   described herein. See Cal. Gov. Code§ 815.2(a).
    22    377. S.C.'s injuries were the proximate and foreseeable result of the absence of safeguards
    23   DEFENDANTS had a duty to provide. Furthermore, S.C.'s injuries were the proximate and
    24   foreseeable as DEFENDANTS were aware ofS.C.'s disability related behavior based on his
    25   education and juvenile court records.
   26     378. S.C. suffered severe emotional and physical distress including humiliation, pain and
   27    suffering.
   28     379. Plaintiff S.C. seeks general damages, nominal damages, as well as costs incurred in

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        1   bringing this action.
     2
     3                                     THIRTIETH CAUSE OF ACTION
                                         Violation of Mandatory Statutory Duties
     4                           by Plaintiff S.C. against Defendant REGIONAL CENTER
     5
     6        380. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs l

     7      through 379, inclusive, as though set forth fully herein.
     8        381. California Government Code §815.6 provides a private light of action where a public
     9      entity is under a mandatory duty imposed by an enactment that is designed to protect against the
    10      risk of a particular kind of injury, such that the public entity is liable for an injury of that kind
    11      proximately caused by failure to discharge the duty unless the public entity establishes that is
    12      exercised reasonable diligence to discharge that duty.

    13        382. California Government Code §815.2 provides that a public entity is liable for injury
    14      proximately caused by an act or omission of an employee of the public entity within the scope of
    15      his or her employment if the act or omission of an employee or his personal representative.
    16        383. California Government Code §815.4 provides that a public entity is liable for injury
    17      proximately caused by a tortious act or omission of an independent contractor of the public entity
    18      to the same extent that the public entity would be subject to liability if it were a private person ..

    19       384. California Education Code§§ 56155, and 56159, and California Welfare and Institutions
    20      Code §4640, et seq. set forth the generally described legislative intent, for the service and
   21       support that Regional Centers are to provide to those persons who are eligible for services and
   22       supports by regional centers.
   23        385. At all times mentioned herein, Defendants REGIONAL CENTER and DOES 41 through
   24       50, inclusive, (collectively herein "DEFENDANTS") owed the following mandatory duties of
   25       care to Plaintiff pursuant to the following statutes, among others:

   26                  a. Pursuant to California Government Code §815.6, said DEFENDANTS owed
   27                      mandatory duties impose by the enactment and regulations described below which
   28                      were designed to protect Plaintiff against the risk of the particular injuries

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     1                   complained herein and said DEFENDANTS are therefore liable to Plaintiff for

     2                   such injuries proximately suffered;

     3               b. Pursuant to California Education Code§§ 56155, an~ 56159, DEFENDANTS
     4                   owed mandatory duties to provide residential cost and costs of non-education
     5                   services; and
     6               c. Pursuant to California Welfare and Institutions Code §4648, DEFENDANTS

     7                   owed mandatory duties to secure needed services, placement, and supports to
     8                   determine the Plaintiff's individual program plan.
     9     386. DEFENDANTS violated the mandatory statutory duties imposed upon them by
    10   California Education Code §§56155, and 56159, and California Welfare and Institutions Code
    11   §4640, et seq. by the following:
    12               a. Failing to provide Plaintiff access to services and supports, including intensive
    13                   mental health and behavioral health services he required to live in the community
    14                   and prevent institutionalization;
    15               b. Failing to identify and fund a living an-angement for Plaintiff in an appropriate
    16                   placement which met his special needs and was in the most integrated setting
    17                   appropriate to his needs;
    18               c. Failing to develop an appropriate and updated individual program plan for
    19                   Plaintiff to ensure his protection and safe and proper case management to address
    20                   his needs;
    21               d. Confining him for an extensive period at COLLEGE HOSPITAL and/or Juvenile
    22                   Hall.
   23     387. DEFENDANTS breached each and every of their various mandatory duties of care owed
   24    to Plaintiff as generally alleged herein so as to proximately cause Plaintiff to suffer the injuries
   25    and damages as alleged herein.
   26     388. DEFENDANTS breach of their mandatory duties of care owed to Plaintiff as described
   27    herein was the result of the Defendant's failure to exercise reasonable diligence in the discharge
   28    of its respective duties owed to Plaintiff as set forth herein.

                                                             61
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     1     389. DEFENDANTS breach of the mandatory duties of care owed to Plaintiff as set forth

     2   herein establishes a presumption of the DEFENDANTS' negligence pursuant to California

     3   Evidence Code §669.

     4     390. As the direct and proximate result of DEFENDANTS' act and/or omissions, S.C. (1) was

     5   physically injured and his condition was exacerbated, (2) suffered emotional distress, and

     6   humiliation, (3) was deprived of public education, foster care, and health services, and (4) and

     7   experienced a permanent loss of developmental opportunity. Plaintiff has suffered general

     8   damages in an amount according to proof.

     9     391. As a further proximate result of the breach of mandatory duties alleged against

    10   DEFENDANTS, Plaintiff has incurred and will continue to incur medical, psychological and

    11   related expenses in an amount according to proof.

    12

    13                                THIRTY-FIRST CAUSE OF ACTION
                                           Unruh Civil Rights Act
    14
               by Plaintiff S.C. against Defendants REGIONAL CENTER and DOES 41 through 50
    15                                      Cal. Civ. Code §§51, et seq.

    16    392. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

    17   through 391, inclusive, as though set forth fully herein.

    18    393. As defined for purposes of the Unruh Civil Rights Act, (the "Unruh Act") by Civil Code

    19   §51 (e)(1 ), and desciibed in Paragraphs 13 through 17, inclusive, Plaintiff S.C. has a disability

    20   within the meaning of the Unruh Act.

    21    394. Defendant REGIONAL CENTER is a business establishment for the purposes of the

    22   Unruh Act.

    23    395. Defendant DOES 41 through 50, inclusive, are employees of the Defendant REGIONAL

    24   CENTER and are sued in both their official and individual capacity.

    25    396. Pursuant to Civil Code §51(f), the ADA violation committed by Defendants REGIONAL

   26    CENTER and DOES 41 through 50, inclusive, as alleged in Paragraphs 417 through 429,

   27    inclusive, also constitutes a violation of the Unruh Act against all Defendants.

   28     397. Alternatively, by engaging in the actions described in Paragraphs 13 through 71,

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         1    inclusive, Defendants·REGIONAL CENTER and DOES 41 through 50, inclusive, engaged in
     2       discriminatory conduct that denied, aided, or incited a denial of the rights of Plaintiff S.C. to
     3       enjoy the ful) and equal access to his accommodations, goods, facilities, and services.
     4         398. As described in Paragraphs 13 through 71, inclusive, Defendants REGIONAL CENTER
     5       and DOES 41 through 50, inclusive, actions were intentional, willful, and affirmatively
     6       discriminatory towards Plaintiff's rights under the Unruh Act because Defendants' refusal to
     7       place Plaintiff was deliberate, with the full knowledge that their failure to act resulted in his
     8       prolonged and continued confinement in a psychiatric hospital and/or juvenile hall.
     9         399. As the direct and proximate result of Defendants REGIONAL CENTER and DOES 41
    IO       through 50, inclusive, failure to provide those aforementioned related aids, services and
    11       placement and discriminatory actions, S.C. (I) was physically injured and his mental impairment
    12       was exacerbated, (2) suffered emotional distress, and humiliation, (3) was deprived of
    13       educational services, mental health services, behavioral supports, placement, and case
    14       management services in the community, and (4) and experienced a permanent loss of
    15       developmental opportunity.
    16         400. Under Civil Code §52(a), Plaintiff S.C. is entitled to recover statutory damages, general
    17       damages as well as treble damages according to proof.
    18

    19                                  THIRTY-SECOND CAUSE OF ACTION
                                     Violation of California Government Code §11135
    20
                   by Plaintiff S.C. against Defendants REGIONAL CENTER and DOES 41 through 50
    21
    22        401. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    23       through 400, inclusive, as though set forth fully herein.
    24        402. California Government Code §J1135 states in relevant part that "[N]o person in the State
    25       of California shall on the basis of ... mental disability, physical disability, medical condition ..
    26       . be unlawfully denied full and equal access to the benefits of, or be unlawfully subjected to
    27       discrimination under, any program or activity that is conducted, operated, or administered by the
    28       state or by any state agency, is funded directly by the state, or receives financial assistance from

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          the state."
     2     403. At all times relevant to this action, Plaintiff was and is a qualified individual within the
     3   meaning of the California Government Code §1113 5.
     4     404. At all times relevant, Defendants REGIONAL CENTER and DOES 41 through 50,
     5   inclusive, (coJlectively herein "DEFENDANTS") received financial assistance from the State of
     6   California within the meaning of Government Code §11135 et seq.
     7     405. California Government Code§ l 1135(b) incorporated the protections and prohibitions
     8   contained in the Americans with Disabilities Act ("ADA") and ifs implementations regulations.
     9     406. DEFENDANTS have violated California Government Code §11135 that the conduct
    10   alleged herein constitutes a violation of the ADA, Section 504 of the Rehabilitation Act, and the
    11   Unruh Civil Rights Act.
    12     407. DEFENDANTS have failed to provide Plaintiff with full and equal access to their
    13   facilities, programs, services and activities as required by California Government Code §11135
    14   et seq.

    15     408. As a proximate result of DEFENDANTS' violation of California Government Code
    16   §11135, Plaintiff has been injured as set forth herein.
    17     409. Plaintiff seeks equitable relief, and general damages.
    18
    19                                THIRTY-THIRD CAUSE OF ACTION
                                              Violation of Civil Rights
    20         by Plaintiff S.C. against Defendants REGIONAL CENTER and DOES 41 through 50
    21                                            42 u.s.c. §1983

    22    410. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
    23   through 409, inclusive, as though set forth fully herein.
    24    411. Plaintiff is informed, believes, and alleges that in doing all of the things alleged,
    25   Defendant REGIONAL CENTER acted under color of law of statutes, regulations, ordinances,
   26    customs, usages of the REGIONAL CENTER and the State of California and in the performance
   27    of their official duties.
   28     412. At all times, Defendant REGIONAL CENTER had a duty to adequately train, direct,

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     1   supervise, and control the actions of Defendant REGIONAL CENTER employees, such as
     2   DOES 41 through 50, inclusive, to enforce those rules and regulations set forth necessary for the
     3   protection and promotion of Plaintiff best interests and the implementation of Plaintiff's case
     4   plan, and to enforce compliance with the Juvenile Court's orders in effect.
     5     413. At all times, Defendant DOES 41 through 50, inclusive, were acting within the scope of
     6   their employment and pursuant to the official policies, customs and practices of Defendant
     7   REGIONAL CENTER These unlawful policies and practices were enforced by Defendant
     8   REGIONAL CENTER, and were the moving force, proximate cause, or affirmative link behind
     9   the conduct causing injury to Plaintiff.
    10     414. At all times, Defendant REGIONAL CENTER, who supervised the individuals who
    11   unlawfully violated Plaintiff's rights, developed, encouraged and tolerated the unlawful policies
    12   and practices described in the foregoing allegations. Defendant REGIONAL CENTER acted
    13   knowingly and with deliberate indifference to the Constitutional rights of citizens, of Plaintiff in
    14   pai1icular, and maintained and permitted an official policy, custom and practice of permitting the
    15   occurrence of the types of wrongs set forth. These policies, customs, and practices, include, but
    16   ai·e not limited to, knowingly permitting its agents and employees to act with deliberate
    17   indifference in the implementation of and in the failure to implement the various alleged laws,
    18   enactments, statutes, and regulations for its minor dependents such as Plaintiff.
    19    415. Defendants REGIONAL CENTER and DOES 41 through 50, inclusive, conduct as

    20   alleged threatened to deprive and did deprive Plaintiff of his rights, privileges, and immunities as
   21    secured to him by the Constitution of the United States, including Plaintiff's right to safety and
   22    freedom from harm, and the right not to be deprived of state or federally created liberty or
   23    property rights as guaranteed by the First, Fourth, Eighth, and Fourteenth Amendment to the
   24    United States Constitution.
   25     416. In addition to economic and non-economic damages, Defendants REGIONAL CENTER
   26    and DOES 41 through 50, inclusive, violations of Plaintiffs civil rights as alleged entitles
   27    Plaintiff to compensatory damages, attorney fees and other remedies, all of which are provided
   28    for in 42 U.S.C. § 1983, et seq.

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     1                              THIRTY-FOURTH CAUSE OF ACTION
                                           Americans with Disabilities Act
     2                        by PlaintiffS.C. against Defendant REGIONAL CENTER
     3                                       42 U.S. C. §§ 12101, et seq.
                                              42 U.S.C. §§12181, et seq.
     4
     5     417. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1
     6   through 416, inclusive, as though set forth fully herein.
     7     418. Defendant REGIONAL CENTER is a public entity within the meaning of Title II of the
     8   Americans with Disabilities Act ("ADA"). See 42 U.S.C. §12131(1).
     9     419. Under Title II of the ADA, "[N]no qualified individual with a disability shall, by reason
    10   of such disability, be excluded from participation in or be denied the benefits of services,
    11   programs, or activities of a public entity, or be subjected to discrimination by any such entity."
    12   See 42 U.S.C. §12132.

    13     420. Alternatively to Paragraphs 418 through 419, inclusive, Defendant REGIONAL
    14   CENTER is a private entity that operates a place of public accommodations within the meaning
    15   of Title III of the ADA. See 42 U.S.C. §12181(6)(7).
    16     421. Under Title III of the ADA, "[N]o individual shall be discriminated against on the basis
    17   of disability in the full and equal enjoyment of the goods, services, facilities, privileges,
    18   advantages, or accommodations of any place of public accommodation by any person who owns,
    19   leases, or operates a place of public accommodation." See 42 U.S.C. §12182(a).
    20    422. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one
    21   or more of his major Jife activities, including (1) learning, (2) concentrating , (3) thinking, (4)
    22   communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments
    23   constitute a "disability" as defined in 42 U. S. C. § 12102(1 ).
    24    423. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff
   25    S.C. is a qualified individual within the meaning of the ADA and regulations issued thereunder.
    26    424. Defendant REGIONAL CENTER knew or should have known S.C. was a person with a
   27    disability whose disabilities required mental health and behavioral health services as described in
   28    Paragraphs 13 through 17, inclusive, because Plaintiff had a record of his disabilities and

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     1    Defendants regarded him as an individual with disabilities.
     2        425. Defendant REGIONAL CENTER knew or should have known that Plaintiff required
     3    related aids, services and placement in order to sustain any placement in the most integrated
     4    setting, and as such, obtain benefit from its programs, because it had a record of the need for
     5    these supports from assessments found in Plaintifr s education and juvenile court records.
     6        426. Defendant REGIONAL CENTER discriminated against S.C., when it (1) failed to
     7   provide intensive mental health and behavioral services required to sustain a placement, (2)
     8    regularly excluded him from placements because of disability related behavior, (3) denied him
     9    access to the most integrated setting appropriate to his needs, and (4) confined him for an
    10    extensive period at COLLEGE HOSPITAL and/or juvenile hall, thereby segregating him from
    11    society and denying him the opportunity to benefit from its programs.
    12        427. Defendant REGIONAL CENTER committed the acts and omissions alleged herein with
    13   deliberate indifference to Plaintifr s rights because Defendant REGIONAL CENTER was on
    14   notice that S.C.'s required intensive mental health and behaviors services, and an appropriate
    15   placement, and that the lack of the aforementioned were resulting in significant disruption to his
    16   education and foster care and/or causing him to be held at a psychiatric hospital and/or juvenile
    17   hall placement.
    18        428. As the direct and proximate result of Defendant REGIONAL CENTER's failure to
    l9   provide those aforementioned related aids, services and placement and discriminatory actions,
    20   S.C. (1) was physically injured and his mental impaim1ent was exacerbated, (2) suffered
    21   emotional distress, and humiliation, (3) was deprived of educational services, mental health
    22   services, behavioral supports, placement, and case management services in the community, and
    23   (4) and experienced a permanent Joss of developmental opportunity.
   24         429. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs
   25    incurred in bringing this action.
   26    II

   27    //
   28    II

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         I                                THIRTY-FIFTH CAUSE OF ACTION
                                           Section 504 of The Rehabilitation Act
      2
                                  by Plaintiff S.C. against Defendant REGIONAL CENTER
      3                                            29 U.S. C. §§ 794, et seq.

      4        430. Plaintiff incorporates by this reference the allegations set forth above in Paragraphs 1

      5      through 429, inclusive, as though set forth fully herein.

      6        431. Under the Rehabilitation Act, a qualified individual with a disability shall not, solely by

      7      reason of their disability, be excluded from participation in or be denied the benefits of, or be

      8      subjected to discrimination under any program or activity receiving federal financial assistance.

     9       See 29 U.S. C. § 794.
    10         432. Under the Rehabilitation Act, the phrase "program or activity" includes local educational

    11       agencies and other school systems. 29 U.S. C. § 794(b)(2)(B).

    12         433. Defendant REGIONAL CENTER was a recipient of federal funding within the meaning

   · 13      of Section 504 of the Rehabilitation Act ("The Rehabilitation Act"). See 29 U.S.C. § 794(b).

    14         434. At all times pertinent to this Complaint, S.C.'s disabilities have substantially limited one

    15       or more of his major life activities, including (1) learning, (2) concentrating, (3) thinking, (4)

    16       communicating (5) interacting, and (5) attending school. Accordingly, S.C.'s impairments

    17       constitute a "disability" as defined in 34 C.F.R. §104.30),

    18        435. By virtue of his disability as described in Paragraphs 13 through 17, inclusive, Plaintiff

    19       S.C. is a qualified individual within the meaning of The Rehabilitation Act and regulations

    20       issued thereunder.

    21        436. Defendant REGIONAL CENTER knew or should have known that Plaintiff required

    22       related aids, services and placement in order to sustain any placement in the most integrated

    23       setting, and as such, obtain benefit from its programs, because it had a record of the need for

    24       these supports from assessments found in Plaintiff" s education and juvenile court records.

   25         437. Defendant REGIONAL CENTER discriminated against S.C., when they (I) failed to

   26        provide intensive mental health and behavioral services required to sustain a placement, (2)

   27        regularly excluded him from placements because of disability related behavior, (3) denied him

   28        access to the most integrated setting appropriate to his needs, and (4) confined him for an

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         1    extensive period at COLLEGE HOSPITAL and/or Juvenile Hall, thereby segregating him from
     2        society and denying him the opportunity to benefit from its programs.
     3            438. Defendant REGIONAL CENTER violated 34 C.F.R. §104.33(a) & (b) and effectively
     4        excluded S.C. from participation in, denied him the benefit of, and subjected him to
     5        discrimination under its programs and activities. The foregoing exclusion, denial and
     6        discrimination were done solely by reason of S.C.'s disability and therefore violated the
     7        Rehabilitation Act generally and 29 U.S.C. §794(a) specifically.
     8            439. Defendant REGIONAL CENTER committed the acts and omissions alleged herein with
     9        deliberate indifference to Plaintiffs rights because Defendant REGIONAL CENTER were on
    10        notice that S.C.'s required intensive mental health and behavioral services, and an appropriate
    11        placement, and that the lack of the aforementioned were resulting in significant disruption to his
    12        education and foster care and/or causing him to be held at a psychiatric hospital and/or juvenile
    13        hall placement.
    14            440. Defendant REGIONAL CENTER's acts and omissions alleged herein violated 34 C.F.R.
    15        §§104.4(b)(l)(i) and 104.33(a) and (d) and excluded S.C. from participation in, denied him the
    16       benefit of, and subjected him to discrimination under their programs and activities. The
    17       foregoing exclusion, denial and discrimination were done solely by reason of S.C.'s disability
    18       and therefore violated the Rehabilitation Act generally and 29 U.S.C. 1794(a) specifically.
    19            441. As the direct and proximate result of Defendant REGIONAL CENTER's failure to
    20       provide those aforementioned related aids, services and placement and discriminatory actions,
    21       S.C. (I) was physically injured and his mental impairment was exacerbated, (2) suffered
    22       emotional distress, and humiliation, (3) was deprived of educational services, mental health
    23       services, behavioral supports, placement, and case management services in the community, and
    24       (4) and experienced a permanent loss of developmental opportunity.
    25            442. Plaintiff S.C. seeks general damages, as well as reasonable attorneys' fees and costs
    26       incurred in bringing this action
    27       II
   28        II

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                                            PRAYER FOR RELIEF
     2   WHEREFORE, PlaintiffS.C. requests this Court enter judgment as follows:

     3        1.   On the FIRST, SECOND, EIGHTH, NINETH, FIFTEENTH, SIXTEENTH,

     4             TWENTY-SECOND, TWENTY-THIRD, TWENTY-NINTH, and THIRTIETH

     5             CAUSES OF ACTION for general damages, nominal damages, as well as costs

     6             according to proof;

     7        2.   On the SECOND CAUSES OF ACTION for general damages, nominal damages, as

     8             well as costs according to proof;
     9        3.   On the THIRD, TENTH, SEVENTEENTH, TWENTY-FOURTH, and THIRTY-

    IO             FIRST CAUSES OF ACTION for statutory damages, general damages, treble

    11             damages, as well as costs according to proof;

    12        4.   On the FOURTH, ELEVENTH, EIGHTEENTH, TWENTY-FIFTH, and THIRTY-

    13             SECOND CAUSES OF ACTION for general damages, nominal damages, equitable

    14             relief, as well as costs according to proof;
    15        5.   On the FIFTH, SIXTH, SEVENTH, TWELFTH, THIRTEENTH, FOURTEENTH,

    16             NINETEENTH, TWENTIETH, TWENTY-FIRST, TWENTY-SIXTH, TWENTY-

    17             SEVENTH, TWENTY-EIGHTH, THIRTY-THIRD, THIRTY-FOURTH, and

    18             THIRTY-FIFTH CAUSES OF ACTION for general damages, as well as reasonable

    19             attorneys' fees and costs according to proof;
    20        6.   For ordinary costs of litigation; and
    21        7.   For such other and further relief as the Court may deem just and proper.

    22
    23   DATED: June 5, 2021                           LAW OFFICES OF HIRJI & CHAU, LLP

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    27                                                          Alex Rodriguez
                                                                Attorneys for Plaintiff S.C. by and through
    28                                                          his Guardian Ad Litem (pending)

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                                         DEMAND FOR A JURY TRIAL
     2   Plaintiff hereby demands a jury trial.
     3

     4   DATED: June 5, 2021                      LAW OFFICES OF HIRJI & CHAU, LLP

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     8                                                 Alex Rodriguez
                                                       Attorneys for Plaintiff S.C. by and through
     9                                                 his Guardian Ad Litem (pending)

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